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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


  ALFONSO CIOFFI, et al.,

              Plaintiffs,
                                          Civil Action No. 2:13-cv-103 [JRG/RSP]
     vs.

  GOOGLE LLC,

              Defendant.


           DEFENDANT GOOGLE LLC’S PROPOSED FINDINGS OF FACT
           AND CONCLUSIONS OF LAW REGARDING THE INVALIDITY
                OF THE PATENTS-IN-SUIT UNDER 35 U.S.C. § 251
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        Pursuant to the Court’s Memorandum Opinion and Order granting in part Defendant

 Google LLC’s (“Google”) motion for a new trial (D.I. 319), Google submits its Proposed Findings

 of Fact and Conclusions of Law regarding invalidity under 35 U.S.C. § 251.

        Google has filed a separate motion for clarification (D.I. 320), pending before this Court,

 that seeks clarification as to whether the Court’s March 29, 2018 Order requires a bench trial at

 which the parties will present evidence and live witness testimony on Google’s § 251 invalidity

 defenses. To the extent the Court conducts a bench trial at which the parties will present evidence

 and live witness testimony, Google requests that the parties be permitted to submit revised

 proposed findings of fact and conclusions of law after the bench trial that would include citations

 to any new evidence presented at the bench trial.

 I.     PROPOSED FINDINGS OF FACT

        A.      Procedural Background

        1.      Plaintiffs Alfonso Cioffi, Megan Rozman, Melanie Rozman, and Morgan Rozman

 (“Plaintiffs”) filed this action against Google on February 5, 2013. D.I. 1. In their original

 complaint, Plaintiffs asserted infringement of four related reissue patents: U.S. Reissue Patent

 RE43,103 (the “’103 Patent”); RE43,500 (the “’500 Patent”); RE43,528 (the “’528 Patent”); and

 RE43,529 (the “’529 Patent”). Id. at ¶¶ 10-14. Plaintiffs alleged that Google infringed these four

 patents based on features of the Google Chrome web browser. Id. at ¶¶ 15-26.

        2.      The four patents are all reissues of U.S. Patent No. 7,484,247 (the “’247 Patent’).

 PTX-001 (’247 Patent); PTX-002 (’529 Patent); PTX-003 (’500 Patent); PTX-004 (’528 Patent);

 D.I. 1, Ex. A (’103 Patent). The four reissue patents and the ’247 Patent are all titled “System And

 Method For Protecting A Computer System From Malicious Software” and name the same

 inventors, Allen F. Rozman and Alfonso J. Cioffi. Id.




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         3.      On August 28, 2014, the Court issued a Claim Construction Memorandum and

 Order that, among other things, construed the term “web browser process,” which is recited in all

 asserted claims of the ’500, ’528, and ’529 Patents, to mean a “process that can access data on

 websites.” D.I. 71 at 14-15. The Court’s Order also stated that the “‘web browser process’ must

 be capable of accessing a website without using another web browser process.” Id. at 14.

         4.      On November 26, 2014, Plaintiffs filed a stipulation and proposed final judgment

 of non-infringement based in part on the Court’s construction of “web browser process.” D.I. 99.

 The Court entered the proposed judgment on December 2, 2014. D.I. 104.

         5.      Plaintiffs then appealed the Court’s claim construction of “web browser process”

 to the Federal Circuit. D.I. 105. On November 17, 2015, the Federal Circuit reversed this Court’s

 construction of “web browser process.” Cioffi v. Google, Inc., 632 F. App’x 1013 (Fed. Cir. 2015).

 Although the Federal Circuit agreed with the Court’s construction of “web browser process” as a

 “process that can access data on websites,” the Federal Circuit disagreed with this Court’s finding

 that a “web browser process” must be capable of accessing website data without using another

 web browser process. Id. at 1021-22. The Federal Circuit remanded for further proceedings

 pursuant to its decision. Id. at 1023-24.

         6.      On remand, the parties proceeded through discovery, pretrial, trial, and post-trial

 proceedings. During the pretrial proceedings, the parties jointly dismissed their allegations as to

 the ’103 Patent. D.I. 179, 183. This left the ’500, ’528, and ’529 Patents as the remaining patents

 at issue (collectively, “Patents-in-Suit”). Plaintiffs asserted four claims from these patents at trial:

 ’500 Patent, Claim 43; ’528 Patent, Claims 5 and 67; and ’529 Patent, Claim 49 (collectively,

 “Asserted Claims”).




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        7.      A jury trial was conducted from February 6 to 10, 2017. D.I. 263-273. At trial,

 Google’s expert Dr. Michael Kogan and Plaintiffs’ expert Dr. Hubert Dunsmore testified on,

 among other things, § 251 invalidity issues. See D.I. 268 (Trial Tr. 2/8/17 pm); D.I. 270 (Trial Tr.

 2/9/17 am); D.I. 271 (Trial Tr. 2/9/17 pm).

        8.      Following the jury trial, the jury returned a verdict finding that: (1) Google

 infringed the Asserted Claims; (2) the Asserted Claims were not invalid under § 102 and/or § 103

 based on the prior art identified at trial; (3) the Asserted Claims were not invalid under § 251; and

 (4) Plaintiffs were entitled to damages. D.I. 259. On September 15, 2017, the Court entered a

 Final Judgment based on the jury’s verdict. D.I. 308.

        9.      In post-trial proceedings, Google filed a Motion for Post-Trial Relief on Invalidity

 Under 35 U.S.C. §§ 102, 103, and 251. D.I. 292. Google argued, among other things, that a new

 trial should be granted on all issues because § 251 issues should not have been presented to and

 decided by the jury. Id. at 2-5. Google also argued that the Asserted Claims are invalid under

 § 251’s rule against recapture and original patent requirement. As to recapture, Google argued

 that ’500 Patent, Claim 43 and ’528 Patent, Claim 67 improperly recaptured the surrendered

 subject matter of a system with just one processor. Id. at 6-14. As to the original patent

 requirement, Google argued that the specification fails to clearly and unequivocally disclose:

 (1) limitations of all Asserted Claims requiring two or more “web browser processes”;

 (2) limitations of ’500 Patent, Claim 43 and ’528 Patent, Claim 67, encompassing an embodiment

 with only one processor; (3) limitations of ’500 Patent, Claim 43, ’528 Patent, Claim 67, and ’529

 Patent, Claim 49, requiring that a “first web browser process” pass data to a “second web browser

 process”; and (4) limitations of the ’529 Patent, Claim 49, requiring a “first web browser process”

 to initialize a “second web browser process.” Id. at 14-20.




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        10.     On March 29, 2018, the Court granted in part Google’s motion for a new trial and

 ordered that the final judgment be vacated, the jury verdict be preserved except as to invalidity

 under § 251, and that a bench trial be held on § 251 issues. D.I. 319. The Court also ordered that

 the parties submit proposed findings of fact and conclusions of law on § 251 issues within 30 days

 of the order. Id.

        B.      The Original ’247 Patent’s Specification And Claimed Invention

                1.     The ’247 Patent Disavows Prior Art Software-Based Solutions As
                       Inadequate

        11.     The Patents-in-Suit are reissues of the ’247 Patent, the initial application for which

 was filed on August 7, 2004. PTX-001; PTX-002; PTX-003; PTX-004. The Patents-in-Suit and

 ’247 Patent share a common specification. Id.

        12.     The ’247 Patent is directed to a “system and method for protecting a computer

 system from malicious software.” PTX-001 at 1:6-7, 2:1-2. The ’247 Patent explains that with

 the growing usage of the Internet and networked services, “malicious software generally known

 a[s] malware” had emerged as a significant threat to computer users. Id. at 3:46-47. When

 downloaded to a user’s computer, malware “interferes with the smooth operation of the computer

 system, and in the extreme, can lead to the unauthorized disclosure of confidential information

 stored on the computer system, significant degradation of computer system performance, or the

 complete collapse of computer system function.” Id. at 3:57-62.

        13.     The ’247 Patent contends that prior art techniques for combating malware were

 inadequate. It asserts, for example, that “[t]he most common state-of[-]the-art solutions for

 preventing malware infiltration are software based, such as blockers, sweepers and firewalls, for

 example.” Id. at 5:51-54. But these techniques were inadequate because “anti-malware programs




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 . . . can only detect known malware that has already been identified (usually after the malware has

 already attacked one or more computers).” Id. at 5:62-65.

        14.     The ’247 Patent explains the “basic flaw” with prior art techniques was that all

 “files must be resident on the computers main processor.” Id. at 6:25-27. Thus, if malware reaches

 the computer’s main processor, it can gain “access . . . to non-volatile memory and other basic

 computer system elements.” Id. at 6:27-29. Similarly, the ’247 Patent asserts that by allowing

 software programs to share a common processor and memory resources, malware can easily spread

 and infiltrate other parts of a user’s computer: “The inherent problem with existing architectures

 is that resources, such as RAM, or a hard disk, are shared by programs simultaneously, giving a

 malware program a conduit to access and corrupt other programs, or the O/S [Operating System]

 itself through the shared resource.” Id. at 5:40-44.

        15.     The ’247 Patent identifies the circumstance where an untrusted “network interface

 program (a browser, for example) is resident on the same processor as the O/S [Operating System]

 and other trusted programs, and shares space on a common memory storage medium.” Id. at 6:57-

 60. In this circumstance, malware can “circumvent[] software security measures to . . . corrupt[]

 critical files on the shared memory storage medium.” Id. at 6:62-64.

        16.     In view of the alleged deficiencies of prior art approaches and the risks presented

 by allowing programs to execute using a shared processor and common memory resources, the

 ’247 Patent contends that “what is needed in the art is a means of isolating the network interface

 program from the main computer system such that the network interface program does not share a

 common memory storage area with other trusted programs.” Id. at 7:1-4. For example, a “network

 interface program” such as a web browser program “may be advantageously given access to a




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 separate, protected memory area, while being unable to initiate access to the main computer’s

 memory storage area.” Id. at 7:5-8.

                2.      The ’247 Patent’s Hardware Isolation Solution Uses Two Processors
                        And Two Separate Memory Spaces

        17.     Consistent with its contention that “what is needed in the art is a means of isolating

 the network interface program from the main computer system,” the ’247 Patent discloses a

 hardware-based security architecture that isolates the user’s sensitive files from potential malware

 downloaded from a network. Figure 1 below depicts this architecture in a “computer system 100,”

 which may be a “personal computer (PC) system, a server, a portable computer, such as a notebook

 computer, or any data processing system, a personal digital assistant (PDA), [or] a communication

 device such as a cell phone.” PTX-001 at 9:30-37. The computer system 100 includes two

 processors and two memory areas: (1) “a first processor 120 (P1)” connected to a “first memory

 and data storage area 110 (M1)” and (2) a “second processor 140 (P2)” connected to a “second

 memory and data storage area 130 (M2).” Id. at 9:37-39, 10:29-37.




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        18.        According to the specification, P1 and P2 are physical hardware processors:

        P1 100 may comprise, for example, a microprocessor, such as a Pentium® 4
        processor, manufactured by the Intel Corporation, or a Power PC® processor,
        manufactured by the IBM Corporation. Other electronic data processors
        manufactured by other companies, including but not limited to electronic data
        processors realized in Application Specific Integrated Circuits (ASICs) or in Field
        Programmable Gate Arrays (FPGAs), are within the spirit and scope of the present
        invention.

 Id. at 9:39-47.

        19.        Similarly, “second processor 140 (P2) . . . may comprise any electronic data

 processor, such as the devices previously described as applicable to first processor 120.” Id. at

 10:31-34.


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        20.     The ’247 Patent asserts that having two physical processors (first processor P1 and

 second processor P2) and their associated two memory areas (first memory M1 and second

 memory M2) as arranged in Figure 1 prevents malware from spreading and harming the user’s

 computer. Id. at 10:38-43. In particular, the arrangement “protect[s] [first] memory 110 from

 malware initiated intrusions, and prevent[s] malware from initiating unwanted processes on first

 processor 120.” Id. This protection of first memory M1 110 and first processor P1 120 is

 “accomplished by using second processor 140 to isolate 110 and 120 from network 195” because

 “[second processor] P2 140 is incapable of initiating access to memory storage area M1 110.” Id.

 at 10:41-46. The patent contends that “any malware that has intruded the [second memory and

 second processor] 130-140 system is thus confined to the 130-140 system, and” cannot “corrupt[]

 data contained on M1 110.” Id. at 10:58-63.

        21.     The ’247 Patent describes a use case scenario where a web browser downloads

 malware to the computer system 100 of Figure 1. In this scenario, a user “connect[s] to network

 195 via for example, a browser program such as Internet Explorer or Netscape Navigator.” Id. at

 10:66-11:1. But rather than running the web browser program on the first processor P1 120, the

 “1st processor 120 instructs 2nd processor 140 to initiate the protected process [i.e., the web

 browser program].” Id. at 11:4-6. Because the web browser program is initiated and run on only

 the second processor, only the “[s]econd processor 140 . . . interacts with the network 195 via

 network interface device 190, receiving and transmitting the data necessary to execute the desired

 protected process, such as browsing the internet or communication via e-mail.” Id. at 11:6-11. In

 effect, “[s]econd processor 140 and memory 130 act as a separate computer system, interacting

 with network 195 while isolating network 195 from the first processor 120 and memory 110.” Id.

 at 11:11-14. As a result, “if any malware is downloaded from network 195, it is stored in memory




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 130, and/or run as a process on second processor 140,” and that malware has no “access to memory

 110 or first processor 120.” Id. at 11:39-46. “Any malware infection is thus confined” to the

 separate computer system with second processor P2 140 and memory M2 130. Id. at 11:46-50.

                3.     Figure 6 Applies The Claimed Invention To Online Gaming

        22.     The ’247 Patent describes an application of the computer system 100 in Figure 1

 for online gaming. As background, the patent explains that “[i]nteractive network processes such

 as interactive gaming have become very popular in recent years.” Id. at 14:3-11. Using a network,

 “[i]nformation about the current and new state of the game is exchanged between various users’

 computer systems, often in real time.” Id. at 14:14-17. But the network connections used for

 exchanging information for online games “may become a conduit for malware practitioners to

 exploit, allowing malware to be downloaded onto a user’s computer during a gaming session.” Id.

 at 14:21-24.

        23.     Using Figure 6 below, the ’247 Patent explains how the computer system 100 in

 Figure 1 with two processors (P1 120 and P2 140) can be applied to “online gaming” to prevent

 malware from harming the user’s computer. Id. at 14:28-45.




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        24.     The process begins with initiating “an interactive network process via 2nd

 processor P2 140 (step 610)” and then “P2 140 receiv[ing] interactive network process status data

 from network connection (step 620).” Id. at 14:31-34. Then, “P2 140 informs 1st processor P1

 120 that interactive network process status data is available (step 630),” at which point, “P1 120

 retrieves interactive network process status data from P2 140 and uses the status data to update the

 interactive network process and update video display (step 640).” Id. at 14:34-39. “P1 120 then

 passes the updated interactive network process status data to P2 140 (step 650)” and “sends the


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 updated interactive network process status data to the network via network connection 195 (step

 660).” Id. at 14:39-42.

        25.     At trial, named inventor Mr. Cioffi and Plaintiffs’ expert Dr. Dunsmore both

 testified that “P1” and “P2” in Figure 6 and related text refer to the same first processor P1 120

 and second processor P2 140 that the specification first introduces with respect to Figure 1. Id. at

 14:31-36; D.I. 263 (Trial Tr. 2/6/17 pm) at 139:8-140:7 (Mr. Cioffi affirming that “P1” and “P2”

 in Figure 6 are the processors of Figure 1); D.I. 271 (Trial Tr. 2/9/17 pm) at 37:7-38:3

 (Dr. Dunsmore testifying that “Figure 6 describes using the processors 120 and 140 of Figure 1”).

                4.      Figure 9’s Embodiment Is Directed To A Processor Chip With Multiple
                        Processor Cores

        26.     Figure 1 of the ’247 Patent depicts the first processor P1 120 and second processor

 P2 140 as physically separate processors. Figure 9 of the ’247 Patent, excerpted below, depicts an

 alternative embodiment where the first processor and second processor are both included on a

 single physical chip. As the ’247 Patent explains:

        Processor 960 may further comprise multiple processor cores, illustrated by 1st
        processor 920 and 2nd processor 940. It is understood that processor 960 may
        contain more than 2 processor cores. Microprocessors manufactured with multiple
        processor cores are becoming common in the industry, and such multi-core
        processors may be particularly advantageous when used in accordance with the
        present teachings.

 PTX-001 at 16:10-18.




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        27.     At trial, both parties’ experts agreed that although two processor cores may be on a

 single processor chip, each processor core still constitutes a separate processor. D.I. 264 (Trial Tr.

 2/7/17 am) at 51:5-16; D.I. 268 (Trial Tr. 2/8/17 pm) at 148:2-10. Thus, Figure 9 and related text

 above disclose a processor chip 960 with two separate processors 920 and 940.

                5.      The ’247 Patent’s Disclosure Applies Communication Link 191 To
                        Data Encryption

        28.     Column 17 of the ’247 Patent describes applying the computer system 100 of Figure

 1, annotated below, to encrypting data “prior to sending the data to processor P2 140, which may

 be running one or more malware processes.”            PTX-001 at 17:33-49.       In this application,

 “[d]ecryption keys may be passed between P1 120 and network interface device 190 via a

 communication link 191,” which is highlighted in yellow. Id. at 17:42-44.


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        29.    The specification discloses that first processor P1 120 passes decryption keys to

 network interface device 190 to allow “[d]ata [to] be decrypted by network interface device 190

 prior to forwarding the data on to network 195.” Id. at 17:38-40. The first processor P1 120 does

 not send the decryption keys to the second processor P2 140 because “P2 140 . . . may be running

 one or more malware processes.” Id. at 17:33-36. By sending the decryption keys using

 communication link 191 — which bypasses second processor P2 140, as shown in Figure 1 above



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 — the second processor P2 140 is prevented from having “visibility to the decryption keys, and is

 therefore unable to decrypt the data.” Id. at 17:36-38.

         C.     Prosecution Of The Original ’247 Patent

         30.    The application for the ’247 Patent was filed on August 7, 2004. PTX-001 at cover

 page.

         31.    As discussed in Section I.B.2, the specification of the ’247 Patent, which was part

 of the original application, describes an architecture with two processors. Nonetheless, Claims 1

 and 15 in the original application encompassed using a single processor. PTX-007 (’247 Patent

 FH) at R00000587 (8/7/2004 Original Application at 35). Originally filed Claim 15, reproduced

 in part below, recited executing a “first logical process” and “second logical process” on “at least

 one electronic data processor.”

         15. A computer system, comprising:

                at least one electronic data processor capable of executing instructions;

                …

                wherein the electronic data processor, first and second memory space, and
                video processor are configured for performing the steps of:

                        executing instructions in a first logical process, wherein the first
                        logical process is capable of accessing data contained in the first
                        memory space and the second memory space;

                        executing instructions in a second logical process, wherein the
                        second logical process is capable of accessing data contained in the
                        second memory space, the second logical process being further
                        capable of exchanging data across a network of one or more
                        computers;

                        …

 Id. at R00000591 (8/7/2004 Original Application at 39) (emphasis added).

         32.    On March 10, 2008, the Examiner issued a second and last rejection of the claims,

 which included finding Claim 1 anticipated by U.S. Patent No. 6,192,477 (“Corthell”) and Claim


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 15 obvious in view of U.S. Patent Nos. 6,578,140 (“Policard”) and 5,673,403 (“Brown”). Id. at

 R00000651-52, 656 (3/10/2008 Final Rejection at 3-4, 8).

        33.     On April 29, 2008, Plaintiffs responded by amending Claims 1 and 15 to recite at

 least two processors. Specifically, Plaintiffs amended Claim 1 to require “having at least a first

 and second electronic data processor” and Claim 15, reproduced in part below, to similarly require

 a “multi-processor” system with “a first and second electronic data processor”:

        15. (Currently Amended) A multi-processor computer system using a common
        operating system, comprising:

                at least a first and second [[one]] electronic data processor capable of
                executing instructions using the common operating system;

                …

                       wherein the first and second electronic data processorprocessors,
                       first and second memory space, and video processor are configured
                       for performing the steps of:

                       executing instructions in a first logical process with the first
                       electronic data processor, wherein the first logical process is
                       executing within the common [[an]] operating system and is capable
                       of accessing data contained in the first memory space and the second
                       memory space;

                       executing instructions in a second logical process with the second
                       electronic data processor, wherein the second logical process is
                       executing within the common operating system and is capable of
                       accessing data contained in the second memory space, the second
                       logical process being further capable of exchanging data across a
                       network of one or more computers;

                       …

 Id. at R00000675-76 (4/29/2008 Amendment at 5-6); see also id. at R00000672.

        34.     In accompanying remarks, Plaintiffs relied on these amendments requiring multiple

 processors to distinguish the prior art identified by the Examiner ― Corthell, Policard, and Brown

 ― as each limited to a single processor. Distinguishing Corthell, Plaintiffs argued:




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        Corthell teaches the use of a computer system using a single electronic data
        processor (Figure 1, [block 102]), utilizing a redirector (Figure 2, [block 214]) and
        filter (Figure 2, [block 216]) mechanism to protect against attacks by malware.
        Corthell, therefore, teaches the use of a single electronic data processor that is
        necessarily executing all instructions . . . . While Corthell does teach partitioning
        of the memory space into a primary partition (Figure 2, [block 204]) and a protected
        partition (Figure 2, [block 206]), he does not teach or suggest the partitioning of
        “secure” and “unsecure” instruction execution onto separate electronic data
        processors.

        In stark contrast, Applicants teach the use of a multi-processor computer having
        at least a first and second electronic data processor capable of executing
        instructions using a common operating system. The second electronic data
        processor is capable of being configured in a protected mode when a network
        process is active. (Applicants’ specification, paragraph 65.) Such a configuration
        allows for a physical hardware separation or partitioning of instruction execution
        on physically separate processors (or processor cores), in contrast to Corthell’s
        teaching of executing all instructions on a single electronic data processor.

 Id. at R00000679-80 (4/29/2008 Amendments/Remarks at 9-10) (emphasis added).

        35.    For Policard and Brown, Plaintiffs argued the same distinction:

        Applicants understand the Examiners suggestion regarding independent claims 10
        and 15, and have amended the claims to specify a computer system having at least
        a first and second electronic data processor capable of executing instructions
        using a common operating system. Additionally, Applicants have incorporated
        elements of amended independent claim 1 . . . into the amended claims 10 and 15,
        further patentably distinguishing claims 10 and 15 from the teachings of Policard
        and Brown.

 Id. at R00000685 (4/29/2008 Amendments/Remarks at 15) (emphasis added).

        36.    Plaintiffs therefore distinguished Corthell, Policard, and Brown on the basis that

 whereas those prior art references disclosed only a single processor, the ’247 Patent taught a

 “multi-processor computer having at least a first and second electronic data processor.” Id. at

 R00000679-80.

        37.    Plaintiffs did not state in their remarks or anywhere else in the prosecution history

 that the amended claims’ requirement of two processors applied to only certain embodiments of

 the ’247 Patent but not others. PTX-007 at R00000679-85.



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        38.     At trial, both parties’ witnesses — including the named inventor Mr. Cioffi and

 Plaintiffs’ expert Dr. Dunsmore — confirmed that the Plaintiffs relied on the amended claims’

 requirement of at least two processors to distinguish prior art. D.I. 263 (Trial Tr. 2/6/17 pm) at

 171:16-172:14 (Mr. Cioffi confirming that by “requiring two separate processors, you now could

 get your patent even though there was this prior art called Corthell”); D.I. 271 (Trial Tr. 2/9/17

 pm) at 30:5-18 (Plaintiffs’ expert Dr. Dunsmore agreeing that “the applicants, Mr. Cioffi and

 Mr. Rozman, were distinguishing Corthell by saying Corthell only requires one processor; we

 require two”); see also D.I. 268 (Trial Tr. 2/8/17 pm) at 147:1-148:1 (Google’s expert Dr. Kogan

 confirming the same).

        39.     Also at trial, Plaintiffs’ expert Dr. Dunsmore agreed that “[i]n the remarks that the

 applicants made distinguishing Corthell, they never stated that their amendment applied to only

 some embodiments of the patent but not others.” D.I. 271 (Trial Tr. 2/9/17 pm) at 30:5-18.

        40.     On September 9, 2008, the Examiner issued a Notice of Allowance, which

 explicitly cited the April 29, 2005 amendments requiring multiple processors as the basis for

 allowance:

        [T]he Examiner agrees with the Applicant’s argument that the prior art does not
        show a single operating system that executes on multiprocessors such that one
        processor handles processes from the Internet and other potentially malicious data
        in order to protect the file system on the other processor.

 Id. at R00000709 (9/9/2008 Notice of Allowance) (emphasis added).

        41.     On January 27, 2009, the ’247 Patent issued with claims requiring at least two

 processors, including both a “first electronic data processor” and a “second electronic data

 processor.” PTX-001 (’247 Patent) at cover, Claims 1-20.




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         D.     The Inventors Decide To Seek Reissues After Learning Of Google Chrome

         42.    No later than October 2009, nine months after the ’247 Patent issued, the named

 inventors, Mr. Cioffi and Mr. Rozman, learned about the Google Chrome web browser. D.I. 263

 (Trial Tr. 2/6/17 pm) at 111:17-19, 112:3-8. The inventors reviewed documentation about Chrome

 that described its multi-process architecture, which later formed the bases for Plaintiffs’

 infringement allegations in this case. Id. at 161:8-11, 163:25-164:6. The inventors also sent each

 other emails showing that the inventors were considering filing reissue claims to cover features in

 Chrome. D.I. 292, Exs. A-F.

         43.    For example, on February 17, 2010, Mr. Rozman emailed to Mr. Cioffi a link to

 documentation for Chrome that described features purportedly related to “restor[ing] corrupt

 system files from an image in the first memory space.” Id., Ex. A. Mr. Rozman commented that

 “[t]his is one of our elements to claim the chrome browser . . . Just gets better.” Id.

         44.    After investigating Chrome in late 2009 and early 2010, Plaintiffs filed for reissues

 of the ’247 Patent on March 9, 2010, starting with the reissue applications for the asserted ’500

 and ’528 Patents. PTX-003 (’500 Patent); PTX-004 (’528 Patent). Plaintiffs filed the reissue

 application for the asserted ’529 Patent on November 7, 2010. PTX-002 (’529 Patent).

         E.     The Asserted Claims Include Claim Limitations That Were Not In The ’247
                Patent’s Issued Claims

         45.    As detailed below, the four Asserted Claims of the reissued Patents-in-Suit include

 four limitations that are not recited in the original ’247 Patent’s issued claims.

                1.      The Asserted Claims’ Recitation Of Two “Web Browser Processes”

         46.    As discussed, the originally filed and issued claims of the ’247 Patent recited two

 “logical processes”: a “first logical process” and a “second logical process.” PTX-001 at Claims

 1-20.



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        47.    All four Asserted Claims of the reissued Patents-in-Suit replace the limitations of

 two “logical processes” in the ’247 Patent’s claims with limitations requiring two “web browser

 processes.” In particular, each claim recites a “first web browser process” and a “second web

 browser process.”

        48.    The ’500 Patent, Claim 43, depends from independent Claim 41, which recites:

        41. A computer program product comprising a program code stored in a non-
        transitory computer readable medium operable on a portable computer and
        communication device capable of executing instructions using a common operating
        system and having at least one electronic data processor communicatively coupled
        to a first memory space with at least one system file and a second memory space,
        the portable computer and communication device including a network interface
        device configured to exchange data across a network of one or more computers
        using a wireless connection, and an intelligent cellular telephone capability with a
        secure web browser including a first web browser process and a second web
        browser process, configured to:

               open the first web browser process within the common operating system,
        wherein the first web browser process is capable of accessing data of a website via
        the network and accessing data contained in the first memory space;

                open the second web browser process within the common operating system
        on command from the first web browser process, wherein the second web browser
        process is capable of accessing data contained in the second memory space and is
        further capable of generating data;

               pass data from the first web browser process to the second web browser
        process; and process data from the second web browser process;

                wherein the at least one system file residing on the first memory space is
        protected from corruption by a malware process downloaded from the network and
        executing as part of the second web browser process.

 PTX-003 at Claim 41 (emphasis added).

        49.    The ’528 Patent, Claim 5, depends from independent Claim 1, which recites:

        1. A method of operating a computer system capable of exchanging data across a
        network of one or more computers and having at least a first and second electronic
        data processor capable of executing instructions using a common operating system,
        comprising:




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               executing a first web browser process, capable of accessing data of a
        website via the network, in a first logical process within the common operating
        system using the first electronic data processor, wherein the first logical process is
        capable of accessing data contained in a first memory space;

               executing a second web browser process in a second logical process within
        the common operating system using the second electronic data processor, wherein
        the second logical process is capable of accessing data contained in the second
        memory space; and

                displaying data from the first logical process and the second logical process,
        wherein a video processor is adapted to combine data from the first and second
        logical processes and transmit the combined data to a display;

               wherein the computer system is configured such that the second electronic
        data processor is operating in a protected mode and data residing on the first
        memory space is protected from corruption by a malware process downloaded from
        the network and executing as part of the second web browser process.

 PTX-004 at Claim 1 (emphasis added).

        50.    The ’528 Patent, Claim 67, depends from independent Claim 64, which recites:

        64. A computer program product comprising a program code stored in a non-
        transitory computer readable medium operable on computer capable of executing
        instructions using a common operating system and having at least one electronic
        data processor communicatively coupled to a first and second memory space and
        to a network interface device configured to exchange data across a network of one
        or more computers and access at least one website, configured to:

               store at least one system file within the first memory space;

               open a first web browser process, capable of accessing data of the at least
        one website via the network, in a first logical process, the first logical process being
        configured to access data contained in the first memory space;

                open a second web browser process in a second logical process, the second
        logical process being configured to access data contained in the second memory
        space; and

                pass data from the first web browser process to the second web browser
        process, wherein the at least one system file residing on the first memory space is
        protected from corruption by a malware process downloaded from the network and
        executing as part of the second web browser process.

 Id. at Claim 64 (emphasis added).




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        51.     The ’529 Patent, Claim 49, depends from independent Claim 36, which also recites

 two web browser processes, a “first web browser process” and a “second secure web browser

 process,” as excerpted below:

        36. A method of operating a portable computer based system employing a common
        operating system and configured with a first memory space and a second protected
        memory space and at least one electronic data processor, comprising:

                storing at least one system file within the first memory space;

                 downloading website content potentially containing malware from a
        network of one or more computers using a secure web browser process, wherein
        the secure web browser process is configured to execute on the at least one
        electronic data processor, and comprises a first web browser process and at least
        one second protected web browser process, the first web browser process and the
        at least one second protected web browser process being configured to access the
        website content via the network of one or more computers;

               executing instructions in the first web browser process, wherein the first
        web browser process is configured to access data contained in the first memory
        space and to initialize the at least one second protected web browser process;

               passing data from the first web browser process to the at least one second
        protected web browser process;

               executing instructions in the at least one second protected web browser
        process, wherein the at least one second protected web browser process is
        configured to access data contained in the second protected memory space and to
        execute instructions from the downloaded website content, wherein the
        downloaded website content is capable of accessing the second protected memory
        space but is denied access to the first memory space;

                displaying digital content generated by the secure web browser process;

               wherein the secure web browser process is configured such that the at least
        one system file residing on the first memory space is protected from corruption by
        website content potentially containing malware downloaded from the network and
        executing as part of the at least one second protected web browser process.

 PTX-002 at Claim 36 (emphasis added).

        52.     Plaintiffs added the “web browser process” limitations during reissue proceedings

 for all three Patents-in-Suit to distinguish prior art. During reissue proceedings, the originally

 applied-for claims recited “browser process” rather than “web browser process.” E.g., PTX-009


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 (’500 Patent FH) at R00001344-45 (10/13/2011 Amendment at 3-4); PTX-010 (’528 Patent FH)

 at R00001849 (8/29/2011 Amendment at 3); PTX-011 (’529 Patent FH) at R00002267-68

 (9/8/2011 Amendment at 6-7).

        53.     The Examiner rejected these claims in view of U.S. Patent Application Publication

 No. 2002/0002673 (“Narin”), because, among other things, Narin disclosed two “browser

 processes.” PTX-009 (’500 Patent FH) at R00001389-90 (11/17/2011 Final Rejection at 2-3);

 PTX-010 (’528 Patent FH) at R00001911-12 (11/14/2011 Final Rejection at 2-3); PTX-011 (’529

 FH) at R00002314-15 (11/8/2011 Final Rejection at 2-3). In rejecting the claims, the Examiner

 specifically noted the broad scope of “browser process,” explaining that “the Applicant’s

 specification describe[s] the first logical process as being a video game and ‘including but not

 [being] limited to a word processor,’ respectively.” Id. As a result, the Examiner found that the

 “claimed first logical process or first browser process could include a web browser, such as Internet

 Explorer or Netscape; a video game; or a word processor” and Narin’s “disclosure reads on the

 Applicant’s video game and word processor interpretations of browser. Video games are met by

 the prior art [Narin]’s disclosure of a secure rendering application since video games are

 applications that render interactive environments for users.” Id.

        54.     In response to this rejection, Plaintiffs amended “browser process” in the claims to

 “web browser process” to distinguish Narin’s disclosure of video game processes. PTX-009 (’500

 Patent FH) at R00001459-60 (1/31/2012 Amendment at 22-23); PTX-010 (’528 Patent FH) at

 R00001973 (1/24/2012 Amendment at 3); PTX-011 (’529 Patent FH) at R00002388-89

 (1/12/2012 Amendment at 27-28).




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                2.      The ’500 Patent, Claim 43 And ’528 Patent, Claim 67 Encompass A
                        Single Processor System

        55.     Two of the Asserted Claims, the ’500 Patent, Claim 43, and the ’528 Patent, Claim

 67, do not require two or more processors and instead encompass having only a single processor.

        56.     The ’500 Patent, Claim 43, depends from independent Claim 41, which recites in

 relevant part: “A computer program product . . . having at least one electronic data processor

 communicatively coupled to a first memory space with at least one system file and a second

 memory space . . . .” PTX-003 at Claim 41.

        57.     The ’528 Patent, Claim 67, depends from independent Claim 64, which recites in

 relevant part: “A computer program product . . . having at least one electronic data processor

 communicatively coupled to a first and second memory space . . . .” PTX-004 at Claim 64.

        58.     Both parties’ experts agreed at trial that these two claims require only one

 processor, just like the originally filed Claims 1 and 15 of the ’247 Patent. D.I. 268 (Trial Tr.

 2/8/17 pm) at 148:2-22 (Dr. Kogan’s testimony); D.I. 271 (Trial Tr. 2/9/17 pm) at 33:8-25

 (Dr. Dunsmore’s testimony). For example, originally filed Claim 15 of the ’247 Patent recited in

 relevant part: “A computer system, comprising: at least one electronic data processor capable of

 executing instructions . . . .”   PTX-007 (’247 Patent FH) at R00000591 (8/7/2004 Original

 Application at 39) (emphasis added).

        59.     As discussed in Section I.C, the Plaintiffs amended the originally filed claims of

 the ’247 Patent to require at least two processors to distinguish prior art raised by the Examiner.

 Id. at R00000672-85 (4/29/2008 Amendment at 2-15).




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                3.     Limitations Of The ’500 Patent, Claim 43, ’528 Patent, Claim 67, And
                       ’529 Patent, Claim 49 Recite Passing Data From The “First Web
                       Browser Process” To The “Second Web Browser Process”

        60.     The Asserted Claims recite limitations relating to aspects of the two “web browser

 processes.” Three asserted claims — Claim 43 of the ’500 Patent; Claim 67 of the ’528 Patent;

 and Claim 49 of the ’529 Patent — require that the “first web browser process” “pass” “data” to

 the “second web browser process.”

        61.     Claim 43 of the ’500 Patent depends from Claim 41, which recites in relevant part:

 “pass data from the first web browser process to the second web browser process.” PTX-003 at

 Claim 41.

        62.     Claim 49 of the ’529 Patent depends from Claim 36, which recites in relevant part:

 “passing data from the first web browser process to the at least one second protected web browser

 process.” PTX-002 at Claim 36.

        63.     Claim 67 of the ’528 Patent depends from Claim 64, which recites in relevant part:

 “pass data from the first web browser process to the second web browser process.” PTX-004 at

 Claim 64.

        64.     At trial, Plaintiffs’ expert Dr. Dunsmore opined that in these three claims, the “data”

 passed from the “first web browser process” to the “second web browser process” must be “website

 data.” D.I. 270 (Trial Tr. 2/9/17 am) at 119:2-23.

                4.     ’529 Patent, Claim 49 Recites “the first web browser process is
                       configured to . . . initialize the at least one second protected web
                       browser process”

        65.     The ’529 Patent, Claim 49, recites an additional feature of the two “web browser

 processes,” which requires that the “first web browser” “initialize” the “second web browser

 process.”




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        66.     Specifically, Claim 49 depends from Claim 36, which recites in relevant part,

 “executing instructions in the first web browser process, wherein the first web browser process is

 configured to access data contained in the first memory space and to initialize the at least one

 second protected web browser process.” PTX-002 at Claim 36.

 II.    PROPOSED CONCLUSIONS OF LAW

        A.      All Four Asserted Reissue Claims Violate The Original Patent Requirement

                1.      Legal Standards For The Original Patent Requirement

        1.      The original patent requirement derives from the reissue statute’s language stating

 that a reissue patent must be “for the invention disclosed in the original patent.” 35 U.S.C.

 § 251(a) (emphasis added). The Federal Circuit has applied this language to require that the reissue

 claims be for the “same invention” as the original patent. Antares Pharma, Inc. v. Medac Pharma

 Inc., 771 F.3d 1354, 1358-59 (Fed. Cir. 2014). A “reissue claim is for the ‘same invention’ if the

 original patent specification fully describes the claimed inventions, but not if the broader claims

 ‘are [ ] merely suggested or indicated in the original specification.’” Id. at 1359 (citing U.S. Indus.

 Chems., Inc. v. Carbide & Carbon Chems. Corp., 315 U.S. 668, 676 (1942)).

        2.      Because the original patent requirement compares the reissue claims to the

 disclosure of the original patent specification, it is “analogous to the written description

 requirement.” Antares, 771 F.3d at 1362 (quotations omitted).

        3.      But the original patent requirement differs from the written description requirement

 of 35 U.S.C. § 112(1) in at least three respects.

        a.      First, whereas written description is a question of fact, the original patent

                requirement is a question of law. Arcelormittal France v. AK Steel Corp., 786 F.3d

                885, 888 (Fed. Cir. 2015); Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336,

                1351 (Fed. Cir. 2010) (en banc).


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        b.      Second, “[w]hether or not the written description requirement of § 112 [is] satisfied

                . . . , ‘it is not enough that an invention might have been claimed in the original

                patent because it was suggested or indicated in the specification.’” Antares, 771

                F.3d at 1362 (quoting U.S. Indus. Chems., 315 U.S. at 676).             “Rather, the

                specification must clearly and unequivocally disclose the newly claimed invention

                [of the reissue claims] as a separate invention.” Id. (emphasis added). In fact, to

                satisfy the original patent requirement, the “exact embodiment claimed on reissue”

                must be “expressly disclosed in the specification.” Id. at 1363. The original patent

                requirement is thus more demanding than the written description requirement with

                respect to the sufficiency of disclosure that the specification must provide.

        c.      Third, “the original patent requirement focuses on the original specification rather

                than the original claims. . . . Thus, we must look to the specification.” Id. at 1362.

                Whereas “the [originally filed] claims may be used to determine whether the written

                description requirement has been satisfied outside of the reissue context,” the

                original patent requirement may only be satisfied by the disclosures of the original

                patent’s specification. Id. (finding reissue claims invalid because “[t]he original

                specification here does not adequately disclose” the reissue claims’ added subject

                matter).

        4.      In sum, unlike the written description requirement, to satisfy the original patent

 requirement, (1) the reissue claims’ subject matter must be “clearly and unequivocally” disclosed

 and (2) that disclosure must appear in the original patent specification and cannot be satisfied with

 disclosures in the originally filed claims.




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                2.     All Asserted Claims’ Recitations Of Two Or More “Web Browser
                       Processes” Violate The Original Patent Requirement

        5.      As discussed in Section I.E.1, all four Asserted Claims require two or more “web

 browser processes.” PTX-003 (’500 Patent) at Claim 43; PTX-004 (’528 Patent) at Claims 5, 67;

 PTX-002 (’529 Patent) at Claim 49. This Court previously construed “web browser process” to

 mean “process that can access data on websites.” D.I. 71 at 15. The Federal Circuit affirmed this

 construction on appeal while also finding that the “web browser process” need not be capable of

 accessing data on websites directly without using another web browser process. Cioffi, 632 F.

 App’x at 1021-22.

        6.      For the asserted claims to satisfy the original patent requirement, the original ’247

 Patent specification must clearly and unequivocally disclose two or more processes that can access

 data on websites. Antares, 771 F.3d at 1362. Mere suggestions or indications are insufficient;

 instead, the specification must disclose an “exact embodiment” with two or more processes that

 can access data on websites. Id. at 1362-63.

                       a.      In The Only Instances Where The ’247 Patent Specification
                               Discloses Web Browsing, It Identifies Only One Web Browser
                               Process

        7.      The original ’247 Patent’s specification does not clearly and unequivocally disclose

 the Asserted Claims’ requirement of two or more web browser processes.

        8.      As an initial matter, the ’247 Patent specification never uses the term “web browser

 process.” See PTX-001. The specification does refer to “web browser” or “browser” programs in

 two instances in describing the claimed invention. But in both instances, there is only one

 “browser” program, and it runs on only the second processor P2 140.

        9.      In the first instance, the specification describes a scenario where the user accesses

 website data using the computer system of Figure 1:



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         Computer user 160 wishes to connect to network 195 via for example, a browser
         program such as Internet Explorer or Netscape Navigator. Of course, other
         methods of connecting to network 195 may be used. User 160 inputs commands to
         open a protected process (e.g. a browser program in this example) at step 210. At
         step 220, 1st processor 120 instructs 2nd processor 140 to initiate the protected
         process and open one or more process windows. Second processor 140, in
         conjunction with memory 130, then interacts with the network 195 via network
         interface device 190, receiving and transmitting the data necessary to execute the
         desired protected process, such as browsing the internet or communication via e-
         mail. Second processor 140 and memory 130 act as a separate computer system,
         interacting with network 195 while isolating network 195 from the first processor
         120 and memory 110.

 PTX-001 at 10:66-11:14 (emphasis added).

         10.    In this scenario, the web browser program is expressly “initiate[d]” on only the

 second processor 140. The second processor 140 running the web browser program then accesses

 the network 195 and receives and transmits data necessary to ‘brows[e]’ the internet.” Id. at 11:6-

 11. The specification does not disclose any web browser program running on the first processor;

 to the contrary, it specifies that the first processor 120 “instructs” the second processor 140 to run

 the web browser program. Accordingly, this passage discloses only one “web browser process,”

 not two. 1 2

         11.    The specification refers to web browsing only one other time with respect to Figure

 9:



 1
   As set forth in Google’s April 16, 2018 Motion for Clarification, Google’s position is that § 251
 invalidity is a question of law that should be decided solely based on intrinsic evidence. D.I. 320
 at 3. But if the Court will consider extrinsic evidence, Google has requested that the parties be
 permitted to present evidence and live witness testimony at the bench trial to provide the Court
 with a complete record on which to decide § 251 invalidity. Id. at 3-5.
 2
   If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide testimony supporting this conclusion, where such testimony would be
 consistent with and supported by Dr. Kogan’s opinions set forth in the August 12, 2016 Opening
 Expert Report Of Dr. Michael Kogan Regarding Invalidity Of United States Patent Nos. RE43,500,
 RE43,528, And RE43,529 Pursuant To 35 U.S.C. §§ 112, 251, & 252 (“Kogan Expert Report”) at
 ¶¶ 310-320.


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           Referring again to FIG. 9, the functions carried out by processors 920 and 940 may
           comprise separate, secure logical processes executing on the same physical
           processor. For example, a first logical process may comprise executing
           instructions necessary to carry out the functions of an operating system, or the first
           logical process may comprise executing instructions necessary to carry out the
           functions of a first computer program, including but not limited to a word processor.
           A second logical process may comprise executing instructions necessary to carry
           out the functions of a web browser program, or may comprise executing
           instructions necessary to carry out the functions of an instant messenger program,
           for example.

 PTX-001 at 16:22-34.

           12.    The above passage discloses only one “web browser program,” which is part of the

 “second logical process.” The “first logical process,” by contrast, does not comprise a web

 browser program but instead carries out distinct functions that do not involve accessing a network,

 like word processing. Accordingly, this passage also discloses only one “web browser process,”

 not two. 3

           13.    An embodiment with two or more web browser processes would also be contrary

 to the ’247 Patent’s express disclosures. The ’247 Patent is not related to the design of web

 browsers. Instead, the ’247 Patent is directed to protecting against malware using hardware

 isolation where, instead of allowing all software processes to execute using a single common

 processor, the patent proposes adding a second processor P2 140 so that any software programs

 that may download malware from a network (such as web browsers) run exclusively on the second

 processor and cannot run on the first processor P1 120. PTX-001 at 10:29-63; D.I. 268 (Trial Tr.

 2/8/17 pm) at 144:12-22 (Dr. Kogan’s testimony). In this way, the second processor P2 140




 3
      If the Court hears live witness testimony at the bench trial, Google expects that its expert
     Dr. Kogan would provide testimony supporting this conclusion, where such testimony would be
     consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert Report at
     ¶¶ 310-320.


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 protects and isolates the first processor P1 120 from malware downloaded from a network. Id.

 Allowing for more than one web browser process would defeat this entire proposed solution. 4

        14.     Consistent with its disclosures relating to hardware isolation, and as the above

 passages describing Figures 1 and 9 exemplify, the specification repeatedly discloses a “first”

 process running on a first processor and a “second” process running on a second processor — but

 the specification discloses that only the second process can access website data. E.g., PTX-001

 (’247 Patent) at 11:2-14, 16:30-34. There is no disclosure in the ’247 Patent specification, much

 less a clear and unequivocal disclosure, that any “first” process on the first processor can also

 access website data. Thus, there is no clear and unequivocal disclosure of two processes that can

 both access website data.

                        b.      Column 14 And Figure 6 Describe Two Processors Exchanging
                                “Status Data” For Online Computer Games, Not Two “Web
                                Browser Processes”

        15.     At trial and in post-trial proceedings, Plaintiffs and their expert Dr. Dunsmore

 argued that certain portions of the specification disclosed two web browser processes. They first

 argued that text describing Figure 6 in the specification discloses that the first process can also be

 a “web browser process” accessing website data. Referring to “Column 14, Lines 28 through 45”

 of the specification, Dr. Dunsmore testified that “we have two processes, P1 and P2. And both of

 them are retrieving data from the network, and that’s exactly what needs to be done by the

 processes of a web browser.” D.I. 271 (Trial Tr. 2/9/17 pm) at 10:1-21. In post-trial briefing,




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   If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide testimony supporting the conclusions in this paragraph, where such
 testimony would be consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan
 Expert Report at ¶¶ 302-328.


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 Plaintiffs also asserted that the “interactive network process” described in the same passage could

 be used to access website data. D.I. 295 at 5-6, 9.

        16.     The text in column 14 cited by Plaintiffs and Dr. Dunsmore is below, with

 references to “P1” and “P2” and “interactive network process” and “status data” emphasized:

        In accordance with a preferred embodiment of the present invention, an exemplary
        process flow 600, illustrated in FIG. 6, allows an interactive network process, such
        as online gaming, to be carried out on computer system 100. A user initiates an
        interactive network process via 2nd processor P2 140 (step 610). P2 140 receives
        interactive network process status data from network connection (step 620). P2
        140 informs 1st processor P1 120 that interactive network process status data is
        available (step 630). P1 120 retrieves interactive network process status data from
        P2 140 and uses the status data to update the interactive network process and
        update video display (step 640). P1 120 then passes the updated interactive
        network process status data to P2 140 (step 650). P2 140 then sends the updated
        interactive network process status data to the network via network connection 195
        (step 660). The exemplary process 600, or a process functionally equivalent, is
        carried out continuously as long as the interactive process is running.

 PTX-001 at 14:28-45 (emphasis added).

        17.     The above passage does not support Plaintiffs’ and Dr. Dunsmore’s arguments.

 First, Plaintiffs are incorrect in arguing that elements “P1” and “P2” are “web browser processes.”

 The specification, including above in column 14, consistently and uniformly refers to P1 and P2

 as physical hardware “processors.” E.g., id. at 14:31-35 (“A user initiates an interactive network

 process via 2nd processor P2 140[.] . . . P2 140 informs 1st processor Pl 120” (emphasis added)).

 The specification first introduces P1 and P2 with respect to Figure 1, and text for Figure 1 describes

 these elements as “a first processor 120 (P1)” and “second processor 140 (P2).” Id. at 9:37-39,

 10:29-37.    The specification states that both P1 and P2 are “electronic data processors

 manufactured by” companies and may comprise a “microprocessor[,] . . . Application Specific

 Integrated Circuits (ASICs) or . . . Field Programmable Gate Arrays (FPGAs).” Id. at 9:39-47.

        18.     In addition, Mr. Cioffi and Dr. Dunsmore both admitted at trial that later references

 in the specification to P1 and P2 — including in column 14 and Figure 6 — refer to these same


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 physical first processor 120 and second processor 140 in Figure 1. D.I. 263 (Trial Tr. 2/6/17 pm)

 at 139:8-140:7; D.I. 271 (Trial Tr. 2/9/17 pm) at 37:7-38:3. Thus, “P1” and “P2” are physical

 processors, which are not web browser processes.

        19.     Second, Plaintiffs’ reliance on column 14 and Figure 6 as purportedly disclosing

 two “web browser processes” is also misplaced because these portions of the specification have

 nothing to do with accessing data on websites. Dr. Dunsmore conceded that Figure 6 and related

 text never mention “web browser process[es].” D.I. 271 (Trial Tr. 2/9/17 pm) at 38:4-6. There is

 also no disclosure in column 14 or Figure 6 that the “interactive network process status data” that

 P1 120 retrieves from P2 140 is website data. Nor is there disclosure that the “interactive network

 process” is a “web browser process.”

        20.     In fact, the specification’s disclosures relating to column 14 and Figure 6 teach

 away from the suggestion that the “interactive network process status data” is website data, as

 these disclosures interchangeably refer to this “status data” as “game status data.” PTX-001 at

 14:46-50 (“By using exemplary process 600 (or an equivalent), computer system 100 is capable

 of actively deciding what data to download and use, and what data to discard or scan for malware.

 The game status data is buffered prior to loading it onto the 110-120 system” (emphasis added)).

        21.     At trial, Dr. Kogan elaborated on this point, explaining that many types of data are

 exchanged over the Internet and that Figure 6 and related text are directed to exchanging “game

 data” over the Internet for “online gaming” applications, not website data for web browsing. D.I.

 268 (Trial Tr. 2/8/17 pm) at 144:24-146:4. 5



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  If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide additional testimony supporting this conclusion, where such testimony
 would be consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert
 Report at ¶ 224.


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        22.     Dr. Kogan’s testimony is corroborated by the specification. Passages in column 14

 before the passage cited by Plaintiffs explain that for online computer games, “[i]nformation about

 the current and new state of the game is exchanged between various users’ computer systems,”

 where the common online computer games include “Quake 3” or “Call of Duty,” among other

 “games available that may be played interactively over a network.” PTX-001 at 14:3-11. Thus,

 the “status data” or “game status data” referenced in the portion of column 14 cited by Plaintiffs

 refers to data that provides “[i]nformation about the current and new state of the game.” Such

 game status data is not website data because, as Dr. Kogan also testified, the status data comes

 from a “game server” that provides “game data, not website data.” D.I. 268 (Trial Tr. 2/8/17 pm)

 at 144:24-146:4.

        23.     At trial, Plaintiffs and their expert Dr. Dunsmore offered no rebuttal to Dr. Kogan’s

 testimony that Figure 6 and column 14 are directed to online computer games, rather than browsing

 websites. In fact, Dr. Dunsmore conceded the point on cross-examination, confirming that Figure

 6’s process flow is used “to do things like run games.” D.I. 271 (Trial Tr. 2/9/17 pm) at 38:1-6.

        24.     Third, the reissue proceedings for the Patents-in-Suit show that Plaintiffs relied on

 this distinction between online gaming and web browsing, and their respective types of data, to

 secure issuance of the asserted claims. As discussed in Section I.C, the applied-for claims of the

 Patents-in-Suit each originally recited “browser process” rather than “web browser process.”

 PTX-009 (’500 Patent FH) at R00001344-45 (10/13/2011 Amendment at 3-4); PTX-010 (’528

 Patent FH) at R00001849 (8/29/2011 Amendment at 3); PTX-011 (’529 Patent FH) at R00002267-

 68 (9/8/2011 Amendment at 6-7). In rejecting these claims, the Examiner noted the broad scope

 of “browser process,” stating that the “browser process” “could include a web browser, such as

 Internet Explorer or Netscape; a video game; or a word processor” and a prior art reference, Narin,




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 “reads on the Applicant’s video game and word processor interpretations of browser.” PTX-009

 (’500 Patent FH) at R00001389-90 (11/17/2011 Final Rejection at 2-3) (emphasis added); PTX-

 010 (’528 Patent FH) at R00001911-12 (11/14/2011 Final Rejection at 2-3); PTX-011 (’529 FH)

 at R00002314-15 (11/8/2011 Final Rejection at 2-3). In response to this rejection, Plaintiffs

 narrowed “browser process” in the claims to “web browser process” to distinguish Narin. PTX-

 009 (’500 Patent FH) at R00001459-60 (1/31/2012 Amendment at 22-23); PTX-010 (’528 Patent

 FH) at R00001973 (1/24/2012 Amendment at 3); PTX-011 (’529 Patent FH) at R00002388-89

 (1/12/2012 Amendment at 27-28). The Examiner’s findings and the Plaintiffs’ amendment further

 demonstrate that a “web browser process” is distinct from the video or computer game processes

 described in Figure 6 and related text in column 14.

        25.      The Federal Circuit similarly recognized that this reissue history distinguishes a

 “web browser process” from a “video game” process, stating that the “examiner felt that the first

 logical process described in the specification was broad enough to encompass non-web browsers

 such as a ‘video game’ and a ‘word processor.’ . . . In response to this rejection, Cioffi amended

 its claims to explicitly state that the ‘first web browser’ needed to be ‘capable of accessing data on

 websites.’” Cioffi, 632 F. App’x at 1020-21.

        26.      Column 14 and Figure 6 therefore fail to disclose — much less clearly and

 unequivocally disclose — two “web browser processes” (i.e., two processes that can access data

 on websites). The disclosure of column 14 and Figure 6 is unrelated to web browsing but instead

 directed to networked computer games, which is not web browsing and does not involve accessing

 website data.

                        c.      The Specification Never Describes Using Communication Link
                                191 To Receive Or Access Website Data




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        27.     In post-trial proceedings, Plaintiffs cited Mr. Cioffi’s testimony that the

 “communication link 191” (highlighted in yellow in Figure 1, annotated below) connects the first

 processor (120) to the network interface (190) to argue that the “first process and the first processor

 also have access to the network interface device and the network.” D.I. 295 at 9-10; D.I. 263 (Trial

 Tr. 2/6/17 pm) at 97:16-23. Plaintiffs contend that because the first process running on first

 processor P1 120 can access the network, it must be able to access website data like the second

 process running on the second processor P2 140. D.I. 295 at 9-10.




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        28.     Although Mr. Cioffi stated that the “communication line 191” gives the “first

 processor . . . access to the network interface device and the network,” he never stated that the first

 processor P1 actually uses communication link 191 to access data of websites. D.I. 263 (Trial Tr.

 2/6/17 pm) at 97:16-23.

        29.     The specification mentions communication link 191 only once as part of a scenario

 in which computer system 100 is used to send encrypted data:



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         In accordance with a preferred embodiment of the present invention, data desired
         to be protected is encrypted prior to sending the data to processor P2 140, which
         may be running one or more malware processes. Processor P2 140 does not have
         visibility to the decryption keys, and is therefore unable to decrypt the data. Data
         may be decrypted by network interface device 190 prior to forwarding the data on
         to network 195. Conversely, encrypted data may be sent directly over the network
         for decryption by another computer system, including, for example, an internet
         banking host computer. Decryption keys may be passed between P1 120 and
         network interface device 190 via a communication link 191.

 PTX-001 at 17:33-44 (emphasis added).

         30.     As this passage describes, when first processor P1 120 wants to send sensitive user

 data, it (1) encrypts that data and passes the data through second processor P2 140 to network

 interface 190 and (2) sends “decryption keys” to network interface 190 via “communication link

 191,” which bypasses the second processor P2 140, as depicted in Figure 1 above. Id. Although

 the encrypted data is passed through second processor P2 140 that “may be running one or more

 malware processes,” the second processor “does not have visibility to the decryption keys, and is

 therefore unable to decrypt the data.” Id. at 17:33-38. Thus, the encrypted data passes through

 second processor P2 120 unharmed. The encrypted data then reaches network interface 190, which

 decrypts the data using the decryption keys sent separately by first processor P1 120 via

 communication link 191. Id. at 17:38-40, 17:42-44.

         31.     The above passage only describes first processor P1 120 using communication link

 191 to exchange “decryption keys” to the network interface 190. Id. at 17:42-44 (“[d]ecryption

 keys may be passed between P1 120 and network interface device 190 via a communication link

 191”). Decryption keys are not website data, and Plaintiffs have not argued otherwise, either at

 trial or in their post-trial briefing. E.g., D.I. 295 at 9-10.

         32.     Moreover, while the passage’s last sentence states that “[d]ecryption keys may be

 passed between P1 120 and network interface 190 via a communication link 191,” the context of

 the passage makes clear that P1 120 only sends “decryption keys” to network interface 190. This


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 is because the passage explains that “[d]ata may be decrypted by network interface device 190,”

 where network interface device performs decryption using the decryption keys sent from P1 120.

 PTX-001 at 17:38-44. Sending data is not receiving or accessing data. Thus, there is no disclosure

 in this passage of using the communication link 191 to receive or access website data. 6

        33.     The specification therefore never clearly and unequivocally discloses that the

 communication link 191 is used to access website data. Accordingly, communication link 191

 fails to disclose two “web browser processes” under the original patent requirement.

                       d.      Other Parts Of The Specification Identified By Plaintiffs Do Not
                               Clearly And Unequivocally Disclose Two “Web Browser
                               Processes”

        34.     In post-trial proceedings, Plaintiffs identified two additional parts of the

 specification identified as disclosing two web browser processes.

        35.     First, Plaintiffs argue that elements “P1” and “P2” in the specification could be web

 browser processes. D.I. 295 at 7. But as discussed, the specification consistently and exclusively

 refers to P1 and P2 as physical “processors” corresponding to the “first processor 120” and “second

 processor 140.” See supra Section I.B.2; e.g., PTX-001 at 14:31-36. Indeed, P1 and P2 are

 introduced with respect to Figure 1, and text for Figure 1 describes these elements as “a first

 processor 120 (P1)” and “second processor 140 (P2),” which are both “electronic data processors

 manufactured by” companies and may comprise a “microprocessor[,] . . . Application Specific

 Integrated Circuits (ASICs) or . . . Field Programmable Gate Arrays (FPGAs).” PTX-001 at 9:37-




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   If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide testimony supporting this conclusion, where such testimony would be
 consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert Report at
 ¶¶ 232-241.


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 47, 10:29-37. The specification discloses P1 and P2 only as physical hardware components — not

 software processes, let alone web browser processes.

        36.     Plaintiffs’ post-trial briefing cited various passages of the specification that purport

 to disclose that P1 and P2 could be web browser processes. D.I. 295 at 7 (citing PTX-001 at 16:23-

 24, 16:34-43). But these cited passages, excerpted below, disclose only that “logical processes”

 and related “functions” are “carried out” or executed on two different processors P1 and P2. The

 cited passages do not disclose that P1 or P2 are themselves software processes of any kind, much

 less web browser processes. Instead, the passages reinforce the specification’s clear distinction

 between the hardware processors (P1 and P2) and the software functions (logical processes) carried

 out on them.

        Referring again to FIG. 9, the functions carried out by processors 920 and 940
        may comprise separate, secure logical processes executing on the same physical
        processor. For example, a first logical process may comprise executing
        instructions necessary to carry out the functions of an operating system, or the first
        logical process may comprise executing instructions necessary to carry out the
        functions of a first computer program, including but not limited to a word processor.
        A second logical process may comprise executing instructions necessary to carry
        out the functions of a web browser program, or may comprise executing
        instructions necessary to carry out the functions of an instant messenger program,
        for example. A computer system 100 constructed in accordance with the principles
        of the present invention would be capable of disallowing a secure logical process,
        such as the second logical process described above, access to certain memory
        spaces, and/or disallowing a secure logical process from initiating access to another
        logical process. For example, the functions carried out by P2 140 (FIG. 1) may
        comprise a secure logical process, which may be configured to be unable to
        automatically initiate access to either M1 110 or another logical process
        performing the functions of P1 120.

 PTX-001 at 16:22-43 (emphasis added).

        37.     Second, Plaintiffs argued that the specification discloses web browser processes

 because it discloses “logical processes,” and web browser processes are a type of logical process.

 D.I. 295 at 8-9. But “logical processes” encompasses many types of software processes. Indeed,

 the ’247 Patent’s Claim 3 enumerates six types: “wherein the second logical process is selected


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 from the group consisting of: an electronic mail process, an instant messaging process, an internet

 browser process, an interactive gaming process, a virtual private network (VPN) process, and a

 reader application process.” PTX-001 at Claim 3. Dr. Dunsmore also testified that “a logical

 process could be just about anything” running on a computer. D.I. 271 (Trial Tr. 2/9/17 pm) at

 12:20-24. Thus, the specification’s disclosure of two “logical processes” does not clearly and

 unequivocally disclose two “web browser processes” as required in the claims. Indeed, as

 discussed in Section I.B.2, far from clearly and unequivocally disclosing two processes that can

 both access network data, the specification teaches away from such an embodiment because

 permitting a “first logical process,” which has access to the user’s sensitive files in the first memory

 space M1, to also have network access would contravene the purpose of the claimed invention.

        38.     In sum, the original ’247 Patent specification does not clearly and unequivocally

 disclose two or more “web browser processes” that can both access data on websites, as recited in

 all four Asserted Claims. Accordingly, all four Asserted Claims are invalid for failing to satisfy

 the original patent requirement.

                3.      Limitations Of The ’500 Patent, Claim 43 And ’528 Patent, Claim 67
                        Encompassing Just “One Processor” Violate The Original Patent Rule

        39.     As discussed in Section I.E.2, Claim 43 of the ’500 Patent and Claim 67 of the ’528

 Patent encompass systems having just “one electronic data processor.” For these claims to satisfy

 the original patent requirement, the original ’247 Patent specification must clearly and

 unequivocally disclose a system having only one electronic data processor. Antares, 771 F.3d at

 1362. Mere suggestions and indications are insufficient; instead, the specification must disclose

 an “exact embodiment” with only one electronic data processor. Id. at 1362-63.

        40.     The ’247 Patent’s specification does not clearly and unequivocally disclose any

 embodiment with just one electronic data processor. Indeed, such an embodiment would be



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 contrary to the stated purpose of the claimed invention. In distinguishing prior art computer

 systems, the ’247 Patent specification contends that their “basic flaw” is using an architecture

 whereby “all incoming executable data files must be resident on the computers main processor.”

 PTX-001 at 6:25-27 (emphasis added). Because all files reside on only one main processor, once

 malware is also “resident on that processor, access may be gained to non-volatile memory and

 other basic computer system elements.” Id. at 6:27-29. To overcome this flaw, the ’247 Patent

 proposes adding a second processor P2 140 that runs unsecure processes while isolating and

 protecting the first processor P1 120. Id. at 10:29-63. Thus, having two processors — as opposed

 to only one processor, as in the prior art — is central to the security architecture disclosed in the

 ’247 Patent. 7

         41.      At trial and in post-trial proceedings, Plaintiffs contended that “processor 960”

 depicted in Figure 9 and described in column 16 of the specification discloses a single processor

 embodiment. D.I. 295 at 10-11; D.I. 271 (Trial Tr. 2/9/17 pm) at 6:1-7:11.

         42.      But Figure 9, excerpted below, depicts two processors 920 and 940 on the same

 physical chip 960.




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  If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide additional testimony supporting this conclusion, where such testimony
 would be consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert
 Report at ¶¶ 153-155.


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        43.    The specification confirms: “Processor 960 may further comprise multiple

 processor cores, illustrated by 1st processor 920 and 2nd processor 940.” PTX-001 (’247 Patent)

 at 16:10-12. There is no dispute that each core constitutes a separate processor. E.g., D.I. 264

 (Trial Tr. 2/7/17 am) at 51:5-16 (Plaintiffs’ infringement expert Dr. Rubin explaining that each

 core “is known as a CPU, the central processing unit”). Thus, Figure 9 depicts two processors 920

 and 940 on the same chip 960. 8




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   If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide testimony supporting this conclusion, where such testimony would be
 consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert Report at ¶¶
 154-155, 189-192.


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        44.     Plaintiffs’ expert Dr. Dunsmore did not disagree that elements 920 and 940 are two

 separate processors. But he offered three counterarguments for why the specification could be

 read more broadly to encompass a single processor.

        45.     First, he noted that the specification says “[p]rocessor 960 may further comprise

 multiple processor cores, illustrated by 1st processor 920 and 2nd processor 940,” and argued that

 “may” suggests that processor 960 could alternatively have just one processor core. PTX-001

 (’247 Patent) at 16:10-12 (emphasis added); D.I. 271 (Trial Tr. 2/9/17 pm) at 6:1-23.

        46.     But read in context, “may” is describing an example of multi-core processor 960

 having exactly two cores (920 and 940). The very next sentence explains that alternatively

 “processor 960 may contain more than 2 processor cores.” PTX-001 (’247 Patent) at 16:12-13

 (emphasis added). Thus, “may” in this sentence describes the possibilities of having only two

 cores or more than two cores, not the possibility of having only one core.

        47.     Further weighing against Plaintiffs’ and Dr. Dunsmore’s reliance on “may” is the

 fact that the word “may” is used 150 times in the ’247 Patent specification, which is 17 columns

 in length. The specification’s frequent use of “may” contravenes Plaintiffs’ and Dr. Dunsmore’s

 inference that “may” in column 16, lines 10-12 implies the very specific — yet not expressly

 described — possibility of having only one processor core. Relatedly, the use of the word “may”

 in column 16, lines 10-12 does not necessarily imply other possibilities that are not expressly

 described.

        48.     In addition, Dr. Dunsmore’s speculation that the specification’s use of “may” could

 suggest one core does not meet the requirements of Antares, which holds that the disclosure must

 be clear and unequivocal — “suggest[ions] or indicat[ions] in the specification” are insufficient.




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 771 F.3d at 1362. Figure 9 and the related text do not clearly and unequivocally disclose a single

 processor with one core.

        49.     Second, Dr. Dunsmore argued that the first sentence in the passage below discloses

 that processors 920 and 940 may be one processor:

        Referring again to FIG. 9, the functions carried out by processors 920 and 940
        may comprise separate, secure logical processes executing on the same physical
        processor. For example, a first logical process may comprise executing instructions
        necessary to carry out the functions of an operating system, or the first logical
        process may comprise executing instructions necessary to carry out the functions
        of a first computer program, including but not limited to a word processor. A
        second logical process may comprise executing instructions necessary to carry out
        the functions of a web browser program, or may comprise executing instructions
        necessary to carry out the functions of an instant messenger program, for example.

 PTX-001 at 16:22-34 (emphasis added); D.I. 271 (Trial Tr. 2/9/17 pm) at 6:24-7:11.

        50.     In particular, Dr. Dunsmore interprets the first sentence’s statement, “the functions

 carried out by processors 920 and 940 may comprise separate, secure logical processes executing

 on the same physical processor,” as suggesting that elements 920 and 940 could be processes

 (rather than processors) executing on the “same physical processor.” PTX-001 (’247 Patent) at

 16:22-24; D.I. 271 (Trial Tr. 2/9/17 pm) at 6:24-7:11. In other words, Dr. Dunsmore reads the

 subject of “may comprise separate, secure logical process” as the “processors 920 and 940” — not

 “the functions carried out by” those processors.

        51.     Dr. Dunsmore’s reading of the first sentence is substantively and grammatically

 wrong. As an initial matter, the cited sentence expressly refers to elements 920 and 940 as

 “processors,” not processes.

        52.     Dr. Dunsmore’s reading of the first sentence is also grammatically incorrect. The

 subject of the sentence is the “functions,” not the “processors 920 and 940.” Those “functions”

 “carried out by processors 920 and 940” are what “may comprise separate, secure logical processes

 executing on the same physical processor.” PTX-001 at 16:22-24. Under the correct reading, the


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 sentence does not state that processors 920 and 940 are “logical processes,” but only that

 “processors 920 and 940” are used to carry out the “functions” that comprise “separate, secure

 logical processes.”

        53.     Dr. Dunsmore’s reading is also inconsistent with the subsequent sentences that

 explain that the “first logical process may comprise executing instructions necessary to carry out

 the functions of an operating system” and the “second logical process may comprise executing

 instructions necessary to carry out the functions of a web browser program.” Id. at 16:24-34

 (emphasis added). These sentences tie each of the first and second “logical processes” to

 associated “functions” that are carried out, consistent with the grammatically correct reading of

 the first sentence discussed above. Indeed, the sentences that follow never refer to processors 920

 or 940, let alone refer to these two processors as “logical processes.”

        54.     Accordingly, Figure 9 and related text in column 16 disclose two separate

 processors 920 and 940; they do not clearly and unequivocally disclose a one-processor

 embodiment.

        55.     Dr. Dunsmore’s third counterargument was that originally filed “Claim 1 of the

 ’247 patent . . . disclose[d] use of the invention on a single processor.” D.I. 271 (Trial Tr. 2/9/17

 pm) at 9:7-20; see PTX-007 at R00000587 (Claim 1). Although as discussed in Section I.C,

 originally filed Claim 1 of the ’247 Patent did encompass a single processor, this fact is legally

 irrelevant because Antares holds that, unlike the written description requirement, the “original

 patent requirement focuses on the original specification rather than the original claims.” 771 F.3d

 at 1362. Reissue claims cannot meet the original patent requirement based on the fact that their

 subject matter is disclosed in the originally filed claims of the original patent. Id. Rather, the

 original patent requirement can be satisfied only based on the disclosure of the original patent’s




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 specification. Id. It is therefore irrelevant that originally filed Claim 1 encompassed a single

 processor. Instead, the relevant inquiry is whether the original ’247 Patent specification discloses

 a single processor. As discussed above, the ’247 Patent specification does not provide any clear

 and unequivocal disclosure of only a single processor.

        56.     In sum, the original ’247 Patent specification does not clearly and unequivocally

 disclose systems or embodiments having just “one electronic data processor,” as recited in Claim

 43 of the ’500 Patent and Claim 67 of the ’528 Patent. Accordingly, these two claims are invalid

 for failing to satisfy the original patent requirement.

                4.      Limitations Of The ’500 Patent, Claim 43, ’528 Patent, Claim 67, And
                        ’529 Patent, Claim 49 Reciting A First Web Browser Process Passing
                        Data To A Second Web Browser Process Violate The Original Patent
                        Rule

        57.     As discussed in Section I.E.3, three of the Asserted Claims — Claim 43 of the ’500

 Patent; Claim 49 of the ’529 Patent; and Claim 67 of the ’528 Patent — require that the “first web

 browser process” “pass” “data” to the “second web browser process.”              Plaintiffs’ expert

 Dr. Dunsmore testified that the “data” passed or exchanged must be “website data.” D.I. 270 (Trial

 Tr. 2/9/17 am) at 119:2-23. Although Google disagrees with Dr. Dunsmore’s interpretation that

 the “data” passed is limited to “website data,” Google assumes that Dr. Dunsmore’s interpretation

 is correct for the purposes of the § 251 analysis.

        58.     Under Dr. Dunsmore’s interpretation, for Claims 43, 49, and 67 to satisfy the

 original patent requirement, the original ’247 Patent specification must clearly and unequivocally

 disclose a first web browser process passing website data to a second web browser process.

 Antares, 771 F.3d at 1362. Mere suggestions and indications are insufficient; instead, the

 specification must disclose an “exact embodiment” where a first web browser process passes

 website data to a second web browser process. Id. at 1362-63.



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        59.     There is no clear and unequivocal disclosure in the ’247 Patent specification of a

 first web browser process passing website data to the second web browser process. 9

        60.     Plaintiffs did not identify any disclosure of a first web browser process passing

 website data to the second web browser process during the trial.

        61.     In post-trial proceedings, Plaintiffs argued that “Column 14 discloses passing

 ‘interactive network process status data’ from the network between P1 and P2, and Prof. Dunsmore

 testified that a POSITA would interpret P1 and P2 as ‘web browser processes’ because both are

 capable of accessing website data.” D.I. 295 at 13.

        62.     Plaintiffs’ post-trial briefing appears to rely on text in column 14, describing Figure

 6, which states that “P1 120 then passes the updated interactive network process status data to P2

 140.” PTX-001 (’247 Patent) at 14:39-40. But as discussed in Section II.A.2.b above, column 14

 and Figure 6 are directed to online computer games, not web browsers. Indeed, the specification

 interchangeably refers to “interactive network process status data” as “game status data.” Id. at

 14:49. Earlier portions of column 14 explain that “game status data” refers to “[i]nformation about

 the current and new state of the game [that] is exchanged between various users’ computer

 systems” where the “game” could refer to “Quake 3” or “Call of Duty,” among other “games

 available that may be played interactively over a network.” Id. at 14:7-17. The disclosed “game

 status data” is not website data, as discussed in Section II.A.2.b and as Dr. Kogan’s unrebutted

 trial testimony explained. D.I. 268 (Trial Tr. 2/8/17 pm) at 144:24-146:4. Therefore, column 14

 does not disclose passing website data between two web browser processes.



 9
   If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide testimony supporting this conclusion, where such testimony would be
 consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert Report at
 ¶ 286.


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        63.     Plaintiffs are also incorrect that a POSITA would interpret P1 and P2 as “web

 browser processes.” The specification, including in column 14, consistently and uniformly refers

 to P1 and P2 as “processors.” E.g., PTX001 at 14:31-36. Indeed, P1 and P2 are first introduced

 with respect to Figure 1, and text for Figure 1 describes these elements as “a first processor 120

 (P1)” and “second processor 140 (P2),” which are both “electronic data processors manufactured

 by” companies and may comprise a “microprocessor[,] . . . Application Specific Integrated

 Circuits (ASICs) or . . . Field Programmable Gate Arrays (FPGAs).” Id. at 9:37-47, 10:29-37. Mr.

 Cioffi and Dr. Dunsmore also admitted that subsequent references to P1 and P2 — including in

 column 14 and Figure 6 — refer to the same physical first processor 120 and second processor

 140. D.I. 263 (Trial Tr. 2/6/17 pm) at 139:8-140:7 (Mr. Cioffi affirming that “P1” and “P2” in

 Figure 6 are the processors of Figure 1); D.I. 271 (Trial Tr. 2/9/17 pm) at 37:7-38:3 (Dr. Dunsmore

 admitting that “Figure 6 describes using the processors 120 and 140 of Figure 1”).

        64.     The original ’247 Patent specification therefore does not clearly and unequivocally

 disclose the “first web browser process” “pass[ing]” “data” to the “second web browser process,”

 as recited in Claim 43 of the ’500 Patent, Claim 49 of the ’529 Patent, and Claim 67 of the ’528

 Patent. Accordingly, these three Asserted Claims are invalid for failing to satisfy the original

 patent requirement.

                5.     The ’529 Patent, Claim 49’s Recitation Of A First Web Browser
                       Process Initializing A Second Web Browser Process Violates The
                       Original Patent Rule

        65.     As discussed in Section I.E.4, the ’529 Patent, Claim 49 requires that the “first web

 browser process is configured to . . . initialize the at least one second protected web browser

 process.”




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         66.    There is no clear and unequivocal disclosure in the ’247 Patent’s specification of a

 first web browser process configured to initialize at least one second protected web browser

 process. 10

         67.    Plaintiffs did not identify any disclosure of a first web browser process configured

 to initialize at least one second protected web browser process during the trial.

         68.    In post-trial proceedings, Plaintiffs identified text in column 11 describing Figure 2,

 where a “1st processor 120 instruct[s] 2nd processor 140 to initiate the protected process and open

 one or more process windows,” and where “the protected process may be ‘browsing the internet.’”

 D.I. 295 at 14 (citing PTX-001 at 11:4-10). Plaintiffs also identified a similar disclosure in column

 17, which states “P1 120 instruct[ing] processor P2 140 to initiate a protected process and open a

 process window.” D.I. 295 at 14 (citing PTX-001 at 17:16-18).

         69.    But these passages each describe how the first processor P1 120 can initialize a

 web browser process on the second processor P2 140. None disclose that a “first web browser

 process” — as opposed to a first processor — initializes the “second web browser process.” To

 the extent that Plaintiffs are assuming that the first processor P1 120 and second processor P2 140

 could also refer to a “first web browser process” and a “second web browser process,” respectively,

 this assumption is incorrect. As discussed in Sections I.B.2 above, the specification repeatedly

 and consistently refers to first processor P1 120 and second processor P2 140 as physical hardware

 processors. The specification never refers to P1 and P2 as software processes of any kind, let alone

 “web browser processes.”



 10
    If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide testimony supporting this conclusion, where such testimony would be
 consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Expert Report at
 ¶ 285.


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        70.     The original ’247 Patent specification therefore does not clearly and unequivocally

 disclose that the “first web browser process is configured to . . . initialize the at least one second

 protected web browser process” as recited in Claim 49 of the ’529 Patent. Accordingly, Claim 49

 of the ’529 Patent is invalid for failing to satisfy the original patent requirement.

        B.      The ’500 Patent, Claim 43 And ’528 Patent, Claim 67 Are Invalid Under The
                Rule Against Recapture

                1.      Legal Standard For The Rule Against Recapture

        71.     Section 251’s rule against recapture “prevents a patentee from regaining through

 reissue the subject matter that he surrendered in an effort to obtain allowance of the original

 claims.” In re Clement, 131 F.3d 1464, 1468 (Fed. Cir. 1997). “Under this rule, claims that are

 ‘broader than the original patent claims in a manner directly pertinent to the subject matter

 surrendered during prosecution’ are impermissible.” Id.

        72.     Whereas the original patent requirement focuses on the original patent’s

 specification, the rule against recapture focuses on the original patent’s claims. Compare id. with

 Antares, 771 F.3d at 1363.

        73.     “Whether the claims of a reissue patent violate” the recapture rule under “35 U.S.C.

 § 251, and thus are invalid, is a question of law.” In re Mostafazadeh, 643 F.3d 1353, 1358 (Fed.

 Cir. 2011).

        74.     Courts determine violations of the rule against recapture using a three-step test:

        (1) first, we determine whether, and in what respect, the reissue claims are broader
        in scope than the original patent claims;

        (2) next, we determine whether the broader aspects of the reissue claims relate to
        subject matter surrendered in the original prosecution; and

        (3) finally, we determine whether the reissue claims were materially narrowed in
        other respects, so that the claims may not have been enlarged, and hence avoid the
        recapture rule.



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 Greenliant Sys. Inc. v. Xicor LLC, 692 F.3d 1261, 1267 (Fed. Cir. 2012) (quotations and citations

 omitted).

        75.     The recapture rule may not apply if the reissue claims are directed to “overlooked

 aspects,” which are “patentably distinct (1) inventions; (2) embodiments; or (3) species not

 originally claimed — not mere incidental features of the originally-claimed invention.” In re

 Mostafazadeh, 643 F.3d at 1360.

                2.      Step 1: The ’500 Patent, Claim 43 And ’528 Patent, Claim 67 Are
                        Broader In That They Require Only One Processor, Rather Than At
                        Least Two Processors As In The Original ’247 Patent’s Issued Claims

        76.     The first step of the recapture test is to “determine whether and in what ‘aspect’ the

 reissue claims are broader than the [original] patent claims.” In re Mostafazadeh, 643 F.3d at

 1358. “A reissue claim that deletes a limitation or element from the [original] patent claims is

 broader with respect to the modified limitation.” Id.

        77.     As discussed in Section I.C, the ’247 Patent’s issued claims require two or more

 physical processors because they each recite having a “first” and a “second” “electronic data

 processor.” PTX-001 at Claims 1-20 (Claims 1, 10, 15 are independent). By comparison, the ’500

 Patent, Claim 43 and ’528 Patent, Claim 67 do not require two or more processors because they

 recite having “at least one electronic data processor.” PTX-003 at Claim 43 (depends from Claim

 41); PTX-004 at Claim 67 (depends from Claim 64).

        78.     The ’500 Patent, Claim 43 and ’528 Patent, Claim 67 are therefore broader than the

 ’247 Patent issued claims with respect to the number of required processors — Claims 43 and 67

 encompass systems with either a single processor or two or more processors, rather than only

 encompassing systems with two or more processors, as required by the ’247 Patent’s claims.

 Indeed, the two reissue claims delete the ’247 Patent claims’ limitation requiring at least a “second

 electronic data processor.”


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        79.     At trial, Plaintiffs’ expert Dr. Dunsmore agreed that the ’500 Patent, Claim 43 and

 ’528 Patent, Claim 67 encompass a single processor system, whereas the ’247 Patent’s issued

 claims do not. D.I. 271 (Trial Tr. 2/9/17 pm) at 33:8-25.

        80.     In post-trial briefing, Plaintiffs also did not dispute these facts or that the first step

 of the recapture test is met. D.I. 295 at 14-23.

        81.     Google’s expert Dr. Kogan also testified that the first step is met. D.I. 268 (Trial

 Tr. 2/8/17 pm) at 148:2-22.

        82.     The first step of the recapture test is therefore met with respect to the ’500 Patent,

 Claim 43 and ’528 Patent, Claim 67 because Claims 43 and 67 are not limited to two or more

 processor systems but also encompass single processor systems, whereas the ’247 Patent’s issued

 claims are limited to two or more processor systems.

                3.      Step 2: During Prosecution Of The ’247 Patent, Plaintiffs Surrendered
                        The Broadened Subject Matter Of One Processor

        83.     The second step of the recapture test is to “determine whether the broader aspects

 of the reissue claims relate to surrendered subject matter.” In re Mostafazadeh, 643 F.3d at 1358

 (quotations omitted). “To determine whether an applicant surrendered particular subject matter,

 [courts] look to the prosecution history for arguments and changes to the claims made in an effort

 to overcome a prior art rejection.” Id.

        84.     In North American Container, Inc. v. Plastipak Packaging, Inc., for example, the

 reissue claims covering plastic bottle structures were broadened to “no longer require the ‘inner

 walls’ to be ‘generally convex.’” 415 F.3d 1335, 1350 (Fed. Cir. 2005). The Federal Circuit found

 this broadened subject matter was surrendered during prosecution because applicants had

 “amended [the claims] to refer to the convex nature of the inner wall portions” and “argued that




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 the ‘shape of the base as now defined in the claims differs from those of . . . the [prior art] patent,

 wherein the corresponding wall portions are slightly concave.’” Id.

        85.     Here, the second step is met because the broadened subject matter of a single

 processor system was surrendered during prosecution of the original ’247 Patent. To overcome

 the prior art references Corthell, Policard, and Brown, Plaintiffs amended originally filed Claims

 1 and 15 to require at least a “first and second electronic data processor.” PTX-007 (’247 Patent

 FH) at R00000672, 675-76 (4/29/2008 Amendment at 2, 5-6) (emphasis added).

        86.     In accompanying remarks, Plaintiffs relied on these amendments to distinguish the

 prior art, stating: “In stark contrast [to Corthell], Applicants teach the use of a multi-processor

 computer having at least a first and second electronic data processor,” and “amend[ments to] the

 claims to specify a computer system having at least a first and second electronic data processor

 . . . distinguish[] claims 10 and 15 from the teachings of Policard and Brown.” Id. at R00000679-

 80, 685 (4/29/2008 Amendments at 9-10, 15) (emphasis added). Based on these amendments and

 remarks, the Examiner allowed the claims because “the prior art does not show a single operating

 system that executes on multiprocessors.” Id. at R00000709 (9/9/2008 Notice of Allowance)

 (emphasis added).

        87.     Plaintiffs’ expert Dr. Dunsmore confirmed in his jury trial testimony that the claims

 were amended to require two processors, and thereby surrendered one-processor systems, to

 distinguish prior art. D.I. 271 (Trial Tr. 2/9/17 pm) at 27:8-21.

        88.     Dr. Dunsmore further confirmed that these amendments surrendered all single

 processor embodiments in the patent. Id. at 30:5-18.

        89.     Plaintiffs also did not dispute in post-trial proceedings that the second step of the

 recapture test is met. D.I. 295 at 14-23.




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           90.   Google’s expert Dr. Kogan concurred in his jury trial testimony that the second step

 is met because Plaintiffs surrendered the subject matter of a single processor to distinguish prior

 art. D.I. 268 (Trial Tr. 2/8/17 pm) at 147:1-148:1.

           91.   The second step of the recapture test is therefore met with respect to the ’500 Patent,

 Claim 43 and ’528 Patent, Claim 67 because the ’500 Patent, Claim 43’s and ’528 Patent, Claim

 67’s broadened subject matter of a single processor was surrendered during prosecution of the ’247

 Patent.

                 4.      Step 3: The ’500 Patent, Claim 43 And ’528 Patent, Claim 67 Are Not
                         Materially Narrowed With Respect To The Surrendered Subject
                         Matter Of One Processor

           92.   Under the third step of the recapture test, “[v]iolation of the rule against recapture

 may be avoided . . . if the reissue claims ‘materially narrow’ the claims relative to the original

 claims such that full or substantial recapture of the subject matter surrendered during prosecution

 is avoided.” In re Mostafazadeh, 643 F.3d at 1358.

           93.   In circumstances where “the reissue claim is broader [than the original claims] in

 some aspects, but narrower in others,” the recapture rule bars the reissue claim “if [it] is as broad

 as or broader in an aspect germane to a prior art rejection, but narrower in another aspect

 completely unrelated to the rejection.” In re Clement, 131 F.3d at 1470. In this third step, “the

 recapture rule is violated when a limitation added during prosecution [of the original patent] is

 eliminated entirely, even if other [unrelated] narrowing limitations are added to the claim.” In re

 Mostafazadeh, 643 F.3d at 1361 (emphasis added); see also In re Youman, 679 F.3d 1335, 1345

 (Fed. Cir. 2012) (“where the patentee eliminates the added limitation in its entirety . . . [,] it is clear

 that the surrendered subject matter has been recaptured”). The Federal Circuit has also explained

 the policy motivation underlying the third step: “a limitation that is added during prosecution to




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 overcome prior art cannot be entirely eliminated on reissue because doing so would constitute

 recapture of the surrendered subject matter.” In re Mostafazadeh, 643 F.3d at 1359.

        94.     Here, the ’500 Patent, Claim 43 and ’528 Patent, Claim 67 are barred by the

 recapture rule under step three.      These claims encompass single-processor embodiments,

 eliminating entirely the limitation requiring at least a “second electronic data processor” that was

 added by amendment to the original ’247 Patent’s claims. Although Claims 43 and 67 add other

 new limitations, none require two or more processors. Dr. Kogan confirmed in his testimony that

 the reissue claims are broader with respect to the number of processors: “the claims in the original

 ’247 patent that issued require two processors, and these claims [Claims 43 and 67] require only

 one processor, so . . . So these claims are actually broader.” D.I. 268 (Trial Tr. 2/8/17 pm) 148:2-

 22.

        95.     Plaintiffs’ expert Dr. Dunsmore agreed in his trial testimony. He affirmed that the

 two claims “eliminated the requirement of having two processors” and could read on systems with

 a single processor. D.I. 271 (Trial Tr. 2/9/17 pm) at 33:8-15.

        96.     Similarly, in post-trial briefing, Plaintiffs conceded that Claims 43 and 67

 eliminated the requirement of two processors and require only one processor. D.I. 295 at 22.

        97.     At trial, however, Dr. Dunsmore opined that the third step of the recapture test is

 not met. He testified that the ’500 Patent, Claim 43 and ’528 Patent, Claim 67 narrowed the “first

 logical process” in the ’247 Patent’s claims to be a “first web browser process.” Id. at 12:8-13:20.

 Dr. Dunsmore opined that this narrowing was “related” to eliminating the requirement of the

 second processor because “[i]n the original [’247] patent . . . one of the motivations was to keep

 the first process completely separate from the network.” Id. at 12:12-15. “But when they decided

 to change to web browser processes [in the reissues] . . . it doesn’t make any sense anymore to




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 have that first process isolated.” Id. at 13:8-15. Dr. Dunsmore averred that because the reissue

 claims did not require isolation, it “wasn’t really even appropriate to require that it have to be run

 on a separate processor, and so that was simply dropped because it just wasn’t needed anymore.”

 Id. at 13:16-20.

        98.     In post-trial proceedings, Plaintiffs similarly argued that the narrowing of “first

 logical process” in the ’247 Patent’s claims to “first web browser process” in the reissue claims

 was “related” to the surrendered subject matter of a single processor because “there was no longer

 a need for physical isolation from the network by the second electronic data processor.” D.I. 295

 at 20-23.

        99.     But step three of the recapture rule requires more than that the reissue claims’ added

 limitations be “related” to the surrendered subject matter. It also requires that, with respect to the

 “related” subject matter, the limitations are “materially narrow . . . relative to the original claims

 such that full or substantial recapture of the subject matter surrendered during prosecution is

 avoided.” In re Mostafazadeh, 643 F.3d at 1358 (emphasis added).

        100.    In Mentor Corp. v. Coloplast, Inc., for example, the broadened and surrendered

 aspect of claims pertaining to condom catheters was the requirement of “transfer of adhesive from

 the outer to the inner layer.” 998 F.2d 992, 995-96 (Fed. Cir. 1993). At the third step, the Federal

 Circuit found that the recapture rule barred the reissue claims because their added limitations on

 the catheter’s material “lack[ed] the requirement of transfer of adhesive from the outer to the inner

 layer” and thus did “not narrow the claims in any material respect compared with their

 broadening.” Id.

        101.    Applying the “materially narrow” requirement here, to avoid recapture under step

 three, the ’500 Patent, Claim 43 and ’528 Patent, Claim 67 must include limitations that require




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 the use of two or more processors as in the ’247 Patent’s issued claims. Only by including

 limitations requiring the use of two or more processors can these claims be considered “narrow[ed]

 . . . [in] any material respect compared with their broadening” so as to avoid “full or substantial

 recapture of the subject matter surrendered during prosecution.” Id. at 995-96; In re Mostafazadeh,

 643 F.3d at 1358.

        102.    Here, the amendments did not “materially narrow” the claims, and so the recapture

 analysis’s third step is not met. In fact, on cross-examination, Dr. Dunsmore admitted that the

 narrowing of “logical processes” in the ’247 Patent’s claims to “web browser processes” in Claims

 43 and 67 imposed no limitation on the number of processors that these two reissue claims require

 — rather, “web browser processes” could run on one or any number of processors. D.I. 271 (Trial

 Tr. 2/9/17 pm) at 34:19-35:18.

        103.    Dr. Dunsmore thus confirmed that although the ’500 Patent, Claim 43 and ’528

 Patent, Claim 67 added limitations narrowing the types of “logical processes” to “web browser

 processes,” these limitations do not materially narrow these reissue claims with respect to the

 broadened and surrendered subject matter of the required number of processors. This is because

 the reissue claims could encompass one or any number of processors, rather than requiring at least

 two processors as in the ’247 Patent.

        104.    Dr. Dunsmore’s and Plaintiffs’ concessions are consistent with Dr. Kogan’s

 testimony that the narrowing of “logical process” to “web browser process” in the reissue claims

 is “not related at all” to the number of processors required by those reissue claims. D.I. 268 (Trial

 Tr. 2/8/17 pm) at 149:2-10.

        105.    The prosecution histories of the ’500 Patent and ’528 Patent likewise confirm that

 the narrowing of the reissue claims to require “web browser processes” was done not for any reason




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 relating to the number of processors, but instead to distinguish the “browser processes” disclosed

 in the Narin prior art reference. PTX-009 (’500 Patent FH) at R00001452-53, 59-71 (1/31/2012

 Amendment at 15-16, 22-34); PTX-010 (’528 Patent FH) at R00001990-92, 1998-2014 (1/24/2012

 Amendment at 20-22, 28-44).

        106.    In post-trial briefing, Plaintiffs argued that, during the ’247 Patent’s prosecution,

 the scope of Plaintiffs’ surrender was limited to embodiments where “the first logical process was

 isolated from the network” and excluded “a single processor embodiment . . . with a first logical

 process unisolated from the network.” D.I. 295 at 22-23.

        107.    Plaintiffs’ post-trial arguments about the limited scope of surrender finds no support

 in the intrinsic record. The applicants never argued those distinctions in distinguishing prior art

 during the ’247 Patent’s prosecution. PTX-007 at R0000678-91. Indeed, Plaintiffs’ expert Dr.

 Dunsmore conceded that “[i]n the remarks that the applicants made distinguishing [prior art], they

 never stated that their amendment applied to only some embodiments of the patent but not others.”

 D.I. 271 (Trial Tr. 2/9/17 pm) at 30:5-18.

        108.    Further, Plaintiffs’ argument about the scope of surrender concerns the second step

 of recapture, not the third step, because only the second step considers the “prosecution history for

 arguments and changes to the claims made in an effort to overcome a prior art rejection,” whereas

 the third step simply compares the scope of the reissue claims to the issued claims of the original

 patent. See In re Mostafazadeh, 643 F.3d at 1358. As discussed in Section II.B.3, Plaintiffs have

 not disputed that the second step is met. E.g., D.I. 295 at 14-22.

        109.    Accordingly, the third step of the recapture test is met with respect to the ’500

 Patent, Claim 43 and ’528 Patent, Claim 67.




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                5.      The ’500 Patent, Claim 43 And ’528 Patent, Claim 67 Are Not Directed
                        To Overlooked Aspects

        110.    The Federal Circuit has noted that there is no need to apply the recapture rule if the

 reissue claims are directed to “overlooked aspects” of the invention, which are “patentably distinct

 (1) inventions; (2) embodiments; or (3) species not originally claimed—not mere incidental

 features of the originally-claimed invention.” In re Mostafazadeh, 643 F.3d at 1360 (emphasis

 added). “The purpose of this exception to the recapture rule is to allow the patentee to obtain

 through reissue a scope of protection to which he is rightfully entitled for such overlooked aspects.”

 Hester Indus., Inc. v. Stein, Inc., 142 F.3d 1472, 1483 (Fed. Cir. 2012).

        111.    While courts have stated that “overlooked aspects” may obviate the recapture

 analysis, none has ever found the recapture rule inapplicable on this basis. Courts have instead

 always rejected arguments that reissue claims are directed to “overlooked aspects.” In Hester

 Industries, for example, the patentee sought to avoid the recapture rule by arguing that “spiral

 conveyance path” and “high humidity steam” limitations added to the reissue claims were

 overlooked aspects. Id. at 1483. The Federal Circuit disagreed, finding that these limitations were

 encompassed by the original claims, and thus “originally claimed,” rather than overlooked. Id.

        112.    The Federal Circuit has also cautioned against conflating the overlooked aspects

 exception with the third step of the recapture rule analysis. In In re Mostafazadeh, the Federal

 Circuit found the Board erred by concluding that at the third step, “[a] limitation materially narrows

 the . . . claims if the narrowing limitation is directed to one or more overlooked aspects of the

 invention.” 643 F.3d at 1360. The Federal Circuit clarified that whereas the recapture analysis

 applies in situations “where the reissue claims are broader than the patented claims because the

 surrendered subject matter has been reclaimed in whole or substantial part,” the overlooked aspects

 exception applies in different situations where the reissue claims’ subject matter is “wholly



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 unrelated to the subject matter that was surrendered during prosecution [of the original patent].”

 Id.

        113.    At trial, Plaintiffs’ expert Dr. Dunsmore opined that the ’500 Patent, Claim 43 and

 ’528 Patent, Claim 67 are directed to two overlooked aspects: (1) an embodiment associated with

 Figure 6 in the specification where there are two “web browser processes” both “capable of

 accessing website data” and (2) embodiments directed to “a portable computing and

 communication device” or a device with “intelligent cellular telephone capability.” D.I. 271 (Trial

 Tr. 2/9/17 pm) at 12:8-13:20, 14:12-24, 15:8-22. As discussed below, neither alleged embodiment

 qualifies as an overlooked aspect of the invention originally claimed in the ’247 Patent.

                       a.      Two “Web Browser Processes” Is Not An Overlooked Aspect

        114.    At trial, Plaintiffs’ expert Dr. Dunsmore argued that whereas the claims of the ’247

 Patent were “directed toward logical processes” with “the first process completely separate from

 the network,” the ’500 Patent, Claim 43 and ’528 Patent, Claim 67 are directed to overlooked

 embodiments in which the first and second logical processes of the ’247 Patent are both “web

 browser processes” that can “access websites.” D.I. 271 (Trial Tr. 2/9/17 pm) at 12:1-2, 13:7-20.

        115.    Dr. Dunsmore’s testimony fails to demonstrate that having “two web browser

 processes” is an overlooked aspect for three reasons.

        116.    First, his contention that the inventors did not originally claim “web browser

 processes” during prosecution of the original ’247 Patent is belied by the fact that a “web browser

 process” is merely a type of “logical process.” As Dr. Dunsmore admitted, “a logical process

 could be just about anything,” including “a process working with web browsers.” Id. at 12:20-24.

 In fact, originally filed Claim 3 of the ’247 Patent, which depended from Claim 1, recited that the

 “second logical process” could be “an internet browser process.”          PTX-007 (’247 FH) at

 R00000587. Dr. Dunsmore likewise testified that the “first logical process” in the originally filed


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 claims could also encompass a web browser process that could access website data. D.I. 271 (Trial

 Tr. 2/9/17 pm) at 41:6:23.

        117.    Thus, by broadly reciting “logical processes,” the originally filed ’247 Patent claims

 indisputably encompassed web browser processes, including a first web browser process. This

 subject matter was therefore “originally claimed,” not overlooked. See In re Mostafazadeh, 643

 F.3d at 1360 (“overlooked aspects” are “patentably distinct (1) inventions; (2) embodiments; or

 (3) species not originally claimed” (emphasis added)).

        118.    Second, Dr. Dunsmore’s assertion that Claims 43 and 67 are directed to an

 overlooked embodiment with two web browser processes is incorrect. As discussed in Section

 II.A.2 with respect to the original patent requirement, there is no embodiment in the specification

 with two “web browser processes.” Plaintiffs identified no embodiment with two “web browser

 processes” at trial. Mr. Cioffi could only identify “Column 6, Line 57,” as suggesting web browser

 processes. D.I. 263 (Trial Tr. 2/6/17 pm) at 124:4-19. But the cited text describes prior art, not

 the claimed invention, and refers only to a “network interface program (a browser, for example).”

 PTX-001 (’247 Patent) at 6:56-60. It says nothing about two “web browser processes.”

        119.    In post-trial proceedings, Plaintiffs identified Figure 6 and related text as disclosing

 two “web browser processes.” But as detailed in Section II.A.2.b above, Figure 6 and the related

 text never mention “web browser processes” and are unrelated to web browsing. They instead

 relate to online computer games, as Dr. Kogan explained in his unrebutted testimony. See PTX-




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 001 (’247 Patent) at Fig. 6, 14:28-54; D.I. 268 (Trial Tr. 2/8/17 pm) at 144:24-146:4 (Dr. Kogan’s

 testimony); D.I. 271 (Trial Tr. 2/9/17 pm) at 38:4-6 (Dr. Dunsmore’s testimony). 11

        120.    Even if the Figure 6 embodiment disclosed two web browser processes, this subject

 matter was originally claimed in the ’247 Patent and was not therefore overlooked. 12 See In re

 Mostafazadeh, 643 F.3d at 1360 (“overlooked aspects” are “patentably distinct (1) inventions; (2)

 embodiments; or (3) species not originally claimed” (emphasis added)). Both parties’ experts

 agreed that the originally filed claims of the ’247 Patent encompass Figure 6. Google’s expert Dr.

 Kogan testified that “[t]hese original claims cover all of the embodiments in the specification,

 including Figure 1 claim, the Figure 6 claim that we looked at, and all the others that are in there

 as well.” D.I. 268 (Trial Tr. 2/8/17 pm) at 146:20-25. Plaintiffs’ expert Dr. Dunsmore concurred

 that there was “no limitation of original application Claim 1” or “Claim 15” that was “not disclosed

 in Figure 6.” D.I. 271 (Trial Tr. 2/9/17 pm) at 40:12-17. 13




 11
    If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide additional testimony supporting this conclusion, where such testimony
 would be consistent with and supported by Dr. Kogan’s opinions set forth in the September 28,
 2016 Deposition Of Michael Kogan, Ph.D. (“Kogan Deposition”) at 190:3-194:8. Although
 Dr. Kogan provided these opinions on overlooked aspects in his deposition, Judge Payne
 previously denied Plaintiffs’ motion to exclude these opinions because they were not offered in
 his expert report served earlier in the case. D.I. 213.
 12
   To be clear, the scope of the ’247 Patent’s originally filed claims was broad enough to encompass
 an embodiment with two web browser processes and, as a result, Plaintiff cannot argue that this
 claim scope was somehow overlooked for purposes of the recapture analysis. But the ’247 Patent’s
 specification fails to “clearly and unequivocally disclose” any such embodiment with two web
 browser processes, and thus, the reissue claims fail to satisfy the original patent requirement for
 the reasons described in Section II.A.2.
 13
    If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide additional testimony supporting this conclusion, where such testimony
 would be consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Deposition
 at 190:3-194:8.


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        121.    Third, even assuming that the ’247 Patent’s claims did not encompass an

 embodiment with two web browser processes, such an embodiment is not a patentably distinct

 embodiment or invention from that originally claimed in the ’247 Patent. The originally filed

 claims already recited a “second logical process” capable of accessing website data. PTX-007

 (’247 FH) at R00000587 (originally filed Claims 1 and 3). Thus, changing originally filed claims

 to expressly encompass two web browser processes would require revising only one term, “first

 logical process,” to a “first web browser process.” This change is minor given that a “web browser

 process” is a type of “logical process,” as Dr. Dunsmore admitted. D.I. 271 (Trial Tr. 2/9/17 pm)

 at 12:20-24. And this change would affect only one part of one claim element; the remainder of

 the original and reissue claims, which each include several elements, are substantially similar.

        122.    These facts distinguish, B.E. Meyers & Co. v. United States, 47 Fed. Cl. 200 (Fed.

 Cl. 2000), which Plaintiffs cited in post-trial briefing as a decision that purportedly found the

 recapture rule inapplicable because of overlooked aspects. D.I. 295 at 18-19. In fact, B.E. Meyers

 did not concern overlooked aspects. Rather, it concerned the second step of the recapture test.

 The court stated that “[t]he dispute concerns whether the broader aspects of the reissue claim

 attempt to recapture subject matter surrendered during the prosecution of the original patent.” 47

 Fed. Cl. at 206.

        123.    Moreover, in concluding that the second step was not met, the court in B.E. Meyers

 relied on bases that are inapplicable here. The court found that whereas the issued claims of the

 original patent at issue covered a “pulsing circuit,” the reissue claims covered a “separate

 invention” of “a lens apparatus.” Id. at 207. Specifically, the original patent’s claims concerned

 a “pulsing circuit” with “two limitations: (1) that the circuit would pulse on and off at intervals

 that resulted in it being off more often than on; and (2) that the pulsing circuit, when on, would




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 pulse at a substantially higher level of power than it would be able to sustain if left on

 continuously.” Id. at 206-07. By contrast, “plaintiff contended, and the PTO examiner ultimately

 agreed,” that the reissue claims’ subject matter of a “lens apparatus that produced a beam with a

 well-defined peripheral edge was in fact a separate invention eligible for patent protection,

 independent of whatever type of pulsing circuitry might be used.” Id. at 207. Indeed, the patentee

 “delete[d] any reference to pulsing circuitry” to ensure that “the new independent reissue claims

 dealt only with the lens system” and had “nothing to do with any type of pulsing circuitry.” Id.

 The reissue claims were therefore directed to an invention wholly unrelated and therefore

 patentably distinct from that of the original patent’s claims.

        124.    Unlike in B.E. Meyers, here, Plaintiffs have not disputed that step two of the

 recapture rule is met. And reissue Claims 43 and 67 cover the same invention as the originally

 filed claims of the ’247 Patent. Both are directed to protecting a “first memory space” by isolating

 malware to a “second” processor and in a “second” memory space.

        125.    In post-trial proceedings, Plaintiffs also asserted that the reissue claims’ recitation

 of a “web browser process” renders them patentably distinct over the originally filed claims

 because during reissue proceedings, the applicants argued, and the PTO agreed, that the “web

 browser process” limitation of the reissue claims rendered them nonobvious over prior art. D.I.

 295 at 18. But there is no authority applying the nonobviousness standard of § 103 to determine

 if a reissue claim is patentably distinct over an originally filed claim under § 251. At any rate, the

 reissue history shows merely that “web browser processes” distinguished one prior art reference,

 Narin — the PTO made no findings about the scope of the reissue claims versus the ’247 Patent’s

 originally filed claims. PTX-009 (’500 Patent FH) at R00001389-90 (11/17/2011 Final Rejection




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 at 2-3); PTX-010 (’528 Patent FH) at R00001911-12 (11/14/2011 Final Rejection at 2-3); PTX-

 011 (’529 FH) at R00002314-15 (11/8/2011 Final Rejection at 2-3).

         126.    In sum, limitations of the ’500 Patent, Claim 43 and ’528 Patent, Claim 67 relating

 to two web browser processes were originally claimed, not overlooked, and, even if they were not,

 these limitations are not patentably distinct from the invention claimed in the original ’247 Patent.

 Accordingly, the ’500 Patent, Claim 43’s and ’528 Patent, Claim 67’s limitations reciting two

 “web browser processes” are not directed to an overlooked aspect of the claimed invention.

                         b.       A “Cell Phone” Is Not An Overlooked Aspect

         127.    The second alleged overlooked aspect that Plaintiffs identify is a “cell phone” or

 device with “cellular telephone capability.”      D.I. 263 (Trial Tr. 2/6/17 pm) at 123:10-22

 (Mr. Cioffi’s testimony); D.I. 271 (Trial Tr. 2/9/17 pm) at 13:21-14:4 (Dr. Dunsmore’s testimony).

 But “cell phones” were originally claimed in the ’247 Patent. As their preambles recited, originally

 filed Claims 1 and 15 were directed to a “computer system” or “method of operating a computer

 system.” PTX-007 (’247 FH) at R00000587, 591. The specification explains that a “computer

 system” in the patent can be “a communication device such as a cell phone.” PTX-001 (’247

 Patent) at 9:32-37. Thus, a “cell phone” was encompassed and claimed by the “computer system”

 recited in the originally filed claims. 14

         128.    A “cell phone” is also not an overlooked aspect because it is merely an incidental

 feature of the ’247 Patent’s originally claimed invention. In re Mostafazadeh, 643 F.3d at 1360

 (“overlooked aspects” are “patentably distinct (1) inventions; (2) embodiments; or (3) species not



 14
    If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide additional testimony supporting this conclusion, where such testimony
 would be consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Deposition
 at 194:9-195:12.


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 originally claimed—not mere incidental features of the originally-claimed invention” (emphasis

 added)). Aside from mentioning that the claimed architecture can be used in a “cell phone” (among

 many other types of known computer devices), the specification says nothing about any purported

 “cellular telephone capability.” When inventor Mr. Cioffi was asked at trial whether he had

 “invent[ed] the cell phone,” he responded, “I wouldn’t pretend to.” D.I. 263 (Trial Tr. 2/6/17 pm)

 at 130:22-23. A “cell phone” is not therefore a patentably distinct “invention” of the ’247 Patent;

 rather, it is merely an incidental feature because it is just one common type of “computer system”

 in which the ’247 Patent’s originally claimed security architecture could be used. 15

        129.    Accordingly, a “cell phone” is not an overlooked aspect because it was originally

 claimed and is an incidental feature of the invention claimed in the original ’247 Patent.

                6.      Conclusion On The Recapture Rule

        130.    For the foregoing reasons, the ’500 Patent, Claim 43 and ’528 Patent, Claim 67

 satisfy all three steps of the test for the rule against recapture and are not directed to overlooked

 aspects. Therefore, the ’500 Patent, Claim 43 and ’528 Patent, Claim 67 are invalid for violating

 the rule against recapture.




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    If the Court hears live witness testimony at the bench trial, Google expects that its expert
 Dr. Kogan would provide additional testimony supporting this conclusion, where such testimony
 would be consistent with and supported by Dr. Kogan’s opinions set forth in the Kogan Deposition
 at 194:9-195:12.


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served with a copy of this document via the Court’s
 CM/ECF system per Local Rule CV-5(a)(3) on April 30, 2018.


                                                   /s/Michael E. Jones




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